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15
                             UNITED STATES DISTRICT COURT
16
                           CENTRAL DISTRICT OF CALIFORNIA
17
     RODNEY CULLORS, DENEAL YOUNG,                 Case No.: 2:20-cv-03760
18   JESSICA HAVILAND, RANY UONG,
     MARK AVILA, CAROLE DUNHAM,                    CLASS ACTION
19   LEANDREW LEWIS, VICTOR
     GUTIERREZ, JEREMIAH FARMER, on                DECLARATIONS OF PLAINTIFFS
20   behalf of themselves and all others           AND PUTATIVE CLASS MEMBERS IN
     similarly situated, DIGNITY AND               SUPPORT OF PETITIONERS/
21   POWER NOW, YOUTH JUSTICE                      PLAINTIFFS’ MOTION FOR CLASS
     COALITION,                                    CERTIFICATION AND APPLICATION
22                                                 FOR TEMPORARY RESTRAINING
                      Plaintiffs,                  ORDER AND MOTION FOR
23                                                 PRELIMINARY INJUNCTION
      vs.
24
     COUNTY OF LOS ANGELES, LOS
25   ANGELES COUNTY SHERIFF ALEX
     VILLANUEVA, and DOES 1-10,
26   inclusive,
27                 Defendants.
28
     DECLARATIONS OF PLTFS ISO MOTION FOR
     CLASS CERT AND APP FOR TRO AND
     MOTION FOR PRELIMINARY INJUNCTION
 Case 2:20-cv-03760-RGK-PLA Document 13-5 Filed 04/24/20 Page 2 of 87 Page ID #:611



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     DECLARATIONS OF PLTFS ISO MOTION FOR
     CLASS CERT AND APP FOR TRO AND
     MOTION FOR PRELIMINARY INJUNCTION
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1          DECLARATIONS OF PLAINTIFFS & PUTATIVE CLASS MEMBERS
          IN SUPPORT OF PETITIONERS/ PLAINTIFFS’ MOTION FOR CLASS
2       CERTIFICATION AND APPLICATION FOR TEMPORARY RESTRAINING
               ORDER AND MOTION FOR PRELIMINARY INJUNCTION
3
4     Exhibit    Description
5         1      Declaration of Mark Avila, dated April 17, 2020
6         2      Declaration of Catrina Balderrama, dated April 17, 2020
7         3      Declaration of Rodney Cullors, dated April 17, 2020
8         4      Declaration of Holly Davidson, dated April 14, 2020
9         5      Declaration of Carole Dunham, dated April 14, 2020
10        6      Declaration of Jeremiah Farmer, dated April 17, 2020
11        7      Declaration of Andrew Fuentes, dated April 22, 2020
12        8      Declaration of Victor Gutierrez, dated April 15, 2020
13        9      Declaration of Jessica Haviland, dated April 14, 2020
14
         10      Declaration of Albert Kirk Jones, dated April 17, 2020
15
         11      Declaration of LeAndrew Lewis, dated April 18, 2020
16
         12      Declaration of Jeffrey Livotto, dated April 22, 2020
17
         13      Declaration of Rany Uong, dated April 17, 2020
18
         14      Declaration of Benito Venegas, dated April 14, 2020
19
         15      Declaration of DeNeal Young, dated April 23, 2020
20
     Dated: April 24, 2020                   Respectfully Submitted,
21
                                             HADSELL STORMER RENICK & DAI LLP
22                                           KAYE, MCLANE, BEDNARSKI & LITT, LLP
                                             CIVIL RIGHTS CORPS
23                                           UCLA LAW CLINICS
                                             ACLU OF SOUTHERN CALIFORNIA
24                                           AMERICAN CIVIL LIBERTIES UNION
25
26                                           By: /s/ - Barrett S. Litt
27                                                 Barrett S. Litt
                                                   Lindsay Battles
28                                           Attorneys for Petitioners/Plaintiffs
     DECLARATIONS OF PLTFS ISO MOTION FOR         1
     CLASS CERT AND APP FOR TRO AND MOTION
     FOR PRELIMINARY INJUNCTION
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                                                                        Ex. 1
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 1                             DECLARATION OF MARK AVILA
 2   I, Mark Avila, hereby declare and say:
 3          1.     I make this declaration of my own free will. I have personal knowledge of
 4   the facts set forth herein and if called as a witness, could and would testify competently
 5   thereto:
 6          2.     I am currently incarcerated in Men’s Central Jail (“MCJ”) in Los Angeles,
 7   California. I have been incarcerated at MCJ since November 4, 2019, awaiting trial on
 8   nonviolent charges.
 9          3.     I am a 33-year-old Hispanic man. On January 29, 2020, I was bitten on the
10   left calf by a police dog while my hands were handcuffed behind my back.
11          4.     Shortly after, I was inexplicably placed in solitary confinement in a 1-man
12   “high power” cell even though I have no prior write-ups or losses of privilege at MCJ. I
13   have been housed there ever since. Due to the conditions in the jail, the lack of
14   precautions to prevent the spread of COVID-19 that I have observed from jail staff and
15   deputies, and my preexisting respiratory conditions (described herein), I fear for my life
16   inside the jail.
17          5.     I have multiple underlying health conditions: I was born with chronic asthma
18   and throughout my life, have had an average of three severe asthma attacks a year. When
19   I have an asthma attack, I experience shortness of breath, dizziness, hyperventilation, lack
20   of oxygenation, and depending on the time from onset to treatment, I can lose
21   consciousness.
22          6.     I have been hospitalized due to my chronic asthma about 30 times in my
23   lifetime. When I was free, I had an extensive medical care regiment where I always had 2
24   inhalers on me, access to my necessary medications at all times Ventilin, Advair,
25   Pretzone, and access to breathing treatments which I had to take daily. I primarily used
26   an Albuterol nebulizer breathing treatment daily. This breathing treatment is a
27   bronchodilator, which helps to open up my airways and relax muscles in my breathing
28   passages. Because of my restricted breathing, I use my inhalers 4x/day to 5x/day, which

     DECLARATION OF MARK AVILA                   -1-
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 1   delivers much needed medication to my lungs. Usually, an inhaler lasts a person with
 2   asthma about 16 days; whereas it usually lasts me less than ten days due to frequency of
 3   use. At MCJ, I have to show the medical staff that my inhaler has zero puffs left before
 4   the staff will order me a new inhaler. The last time I asked for an inhaler, it took the jail
 5   staff 10 days to "refill" my inhaler. My asthma is exacerbated by dust and strong
 6   chemicals. It has been made worse by the jail conditions in which I am living where dirt
 7   and dust is rampant. If I contract COVID-19 from a deputy, nurse, staff member or other
 8   prisoner, I am fearful that I am especially at-risk due to my serious pulmonary conditions.
 9   I also have diabetes, liver disease, and a blood disorder that causes me to have a high
10   white blood cell count.
11         7.     I am housed in a 1-man cell in a module with about 25 other men. I have one
12   bed and a toilet in my cell. Walls separate the cells in my module, but there are barred
13   doors and I can reach out and touch the prisoner in the cell next to me. I am not six feet
14   apart from the prisoner in the cell next to me. Because I can hear and talk to the other
15   prisoners through the barred doors, I have heard other prisoners in my module coughing.
16   I have not seen the guards remove those individuals from the module.
17         8.     Since approximately March 30, I have daily asked the deputies and nurses
18   who come by my cell for a mask or some kind of protective gear to protect myself against
19   COVID-19. They know that I have chronic asthma because I am under strict instructions
20   to have my inhaler on me at all times.
21         9.     Until April 10, I was told no. "If I gave you one, I'd have to give one to
22   everyone else." The only people who have masks are the deputies and some (but not all)
23   nurses. When I was in the medical unit recently (see below), some nurses wore masks,
24   but not all. Not all of the deputies wear masks. I have seen deputies coughing near my
25   cell. The deputies don’t always wear masks and sometimes their masks will be down
26   below their chin or on top of their head, providing absolutely no protection from their
27   coughing.
28         10.    On April 1, I submitted an inmate request form seeking a mask. On April 9,

     DECLARATION OF MARK AVILA                    -2-
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 1   because I was worried that the jail had still not taken any steps to protect people like me
 2   with preexisting health conditions, I decided to escalate the matter and submitted a
 3   grievance form asking for a mask, hand sanitizer and other necessities for cleaning. To
 4   date, I have not received a response to my grievance request.
 5         11.    On April 10, early in the morning, I saw that someone had deposited a face
 6   mask in my cell. I assume it was the jail staff, but I have not been explicitly told so. I was
 7   not given any directions about how to wear it or when to wear it, or if we will be getting
 8   new masks after a certain period of time has elapsed. While I’m glad that the jail staff is
 9   finally paying attention to my concerns, no one in the jail – neither medical staff nor the
10   Sheriff’s deputies – have provided us with other protective gear such as hand sanitizer or
11   gloves. As of April 17, I have not gotten any new masks and have been told to reuse the
12   one I received on April 10. I am afraid to wash the mask because it is made of flimsy
13   material and I don’t have instructions on how to clean it.
14         12.    Despite my known respiratory illnesses, MCJ staff, deputies, and medical
15   personnel have not taken any special precautions to prevent the spread of COVID-19 to
16   me. No information has been provided to me by jail staff or deputies about the virus and
17   how to prevent its spread. I do not see any signage in the jail and no one has given me
18   any written materials with information about how I can prevent the spread. I get my news
19   from newspapers; that's how I know the disease is respiratory. Moreover, my inhaler ran
20   out the week of April 6th and it was just replaced. I was terrified that I would have a
21   severe asthma attack while waiting for my inhaler to be refilled.
22         13.    My experience is that it takes 2-3 weeks to be seen by a doctor in the jail
23   after submitting a request to see a doctor. On February 29, 2020, my shoulder was
24   injured; after waiting for 4 weeks, I finally saw a doctor for a popped shoulder for which
25   I was in a lot of pain. During those 4 weeks of wait, I was in excruciating pain and could
26   barely move my left arm.
27         14.    The RN that treated me told me that there was an 89% fatality rate from
28   COVID-19 for people like me who have chronic asthma.

     DECLARATION OF MARK AVILA                    -3-
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 1         15.    Each person is provided one free tiny bar of soap and a single roll of toilet
 2   paper once a week. I use up my free bar of soap in a couple of days because I know it is
 3   important to wash my hands often to avoid catching the virus. I have had to buy soap
 4   from commissary after that, which has been a financial hardship for me.
 5         16.    I am responsible for cleaning my own cell, and I do not have the proper
 6   equipment or clean supplies to do so. Sometimes, inmates are given AJAX and a scrub
 7   pad in order to clean our own cells, but only if the jail’s supplies are not low. We are also
 8   given a very diluted disinfectant. I know that it is diluted because it is so watered down,
 9   the disinfectant is almost odorless. I have also overheard the trustees say to each other,
10   “hey, we’re running low and have to dilute it” before allowing us to clean our cells.
11         17.    As of April 17, the prisoners in my module have told me that they are unable
12   to purchase Clorox wipes, which used to be an item available through commissary. They
13   are now told it is an “unauthorized item.”
14         18.    I shower 3x a week on Monday, Wednesday, and Friday. The showers are
15   shared with the entire module. There is a yard call once a week in which we are locked
16   in dog cages for 3 hours. While in the dog cages, there is only a foot between one
17   prisoner and the next.
18         19.    I have overheard that at least two sections of MCJ are quarantined right now,
19   potentially for a possible case of COVID-19. When I was going to yard on the morning
20   of April 10, the guards led me and about 9 other inmates through a hallway next to a
21   potentially quarantined section of the jail in order to get to the yard that is designated for
22   “high power” inmates. The walls of the quarantined section do not reach the ceiling.
23   There is a perforated metal section at the top of the wall. As such, there was still air
24   circulation between the quarantined section and the hallway where we were walking. We
25   get within four feet of the perforated metal section when we pass by the quarantined
26   section. I can hear and see the quarantined inmates in that open dorm. I feel that this is
27   dangerous and exposing people like me with preexisting medical conditions to COVID-
28   19 spread.

     DECLARATION OF MARK AVILA                     -4-
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 1         20.    On April 8th, I went to court for a court appearance. Because I was afraid of
 2   COVID-19 spread and because the guards had not given us any protection, I created my
 3   own mask out of a torn t-shirt that I tied around my head. At 6am, I was escorted by
 4   deputies down my tier to the bus area. I waited in the “court line”, shackled to other
 5   prisoners, to get on a sheriff’s bus. Throughout the day, I was passed through the custody
 6   of multiple deputies. I came in close contact with several deputies at Men’s Central who
 7   walked me from my cell to the court line, processed me on the court line, shackled me to
 8   other prisoners on the court line, and loaded me on the bus. I observed other prisoners on
 9   bus coughing and many of did not have masks. I then came in close contact with deputies
10   at the courthouse itself, including those who placed me in the “court tank” (a room where
11   I waited to be seen by the judge) and who escorted me from my court tank to my
12   courtroom. The bailiff in the courtroom also came in close proximity to me when I was
13   seen by the judge. At the courthouse, I passed through multiple holding tanks where there
14   were easily 20-30 people standing in a single small room. The holding tanks are filthy
15   and we were not provided disinfectant supplies to help us wipe down any surfaces we
16   touch. When I returned to MCJ, I was forced into a single “stand-up cage” with 10-12
17   other people, where we were to wait for our unit officers to pick us up and bring us back
18   to our modules. The individual “stand-up cages” are separated by perforated metal and
19   adjacent to each other so that you’re standing less than six feet away from the person in
20   the next cage. We were not seen by a nurse or a doctor on our way back from court. My
21   temperature was not taken at any point before getting on the bus in the morning. My
22   temperature was not taken at any point on my way back from court. I was not asked about
23   symptoms of COVID-19 at any part of the process from here and back. As far as I could
24   tell, there was no effort to keep prisoners 6 feet distance from each other. We were also
25   not provided masks or other face coverings to prevent the spread of COVID-19.
26         21.    Due to the visitor restrictions, I have not seen my pregnant wife and four
27   kids in months. I am afraid I will die in jail from COVID-19. In my module, if the
28   phone is functioning (it was broken today), I only get a 30-minute phone call and it is to

     DECLARATION OF MARK AVILA                   -5-
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 1     my fear that if I contract COVID-19 from someone in the jail, I only have 30 minutes to
 2     speak to all my kids before they lose their father. To be in here and not have proper
 3     medical attention causes me and my family extreme anxiety.
 4           22.    If released, I will go to my sister's house in Lancaster, CA because I do not
 5     want to expose my pregnant wife to anything I may have picked up in jail since she also
 6     suffers from chronic asthma. My sister would be able to pick me up from MCJ. I would
 7     have access to more inhalers, my daily breathing treatment, suitable living conditions for
 8     my chronic asthma, be able to safely social distance from others, and be able to meet my
 9     newborn child once he or she is born. I am not charged with a violent crime. The
10     sentence I am facing for my case is not eligible for death, much less death by COVID-19.
11           23.    I am a member of the Youth Justice Coalition.
12
13           I declare under penalty of perjury under the laws of the State of California and the
14     United States of America that the foregoing is true and correct. Executed this 17th day of
15     April 2020, in Los Angeles, California.
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      DECLARATION OF MARK AVILA                    -6-
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                                                                     Ex. 2
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                                       #:621


 1                       DECLARATION OF CATRINA BALDERRAMA
 2     I, Catrina Balderrama, make this declaration of my own free will. I have personal
 3     knowledge of the facts set forth herein and if called as a witness, could and would testify
 4     competently thereto:
 5           1.     I am currently incarcerated at the Century Regional Detention Facility
 6     (“CRDF”), in Lynwood, California. I am 37 years old and have been incarcerated here
 7     since January 14, 2020.
 8           2.     I am incarcerated on a misdemeanor charge, with a bail of $1,000, and a
 9     felony probation violation, with a no bail hold.
10           3.     When I was first incarcerated here, I was housed in module 3700 in a cell
11     with a bunkie. When we first learned about the COVID-19 outbreak, we were not given
12     masks or gloves. Any time the news was on the television in the module, the deputies
13     would turn it off. I received no useful information about how to protect myself from
14     COVID-19 from the deputies. Once, a deputy told us that modules 3500 and 3800 were
15     on quarantine, but that no one tested positive. Those modules are right next to module
16     3700 where I was housed, so I was incredibly concerned.
17           4.     On March 16, 2020, I was transported to court for a hearing at the Clara
18     Shortridge Foltz Criminal Justice Center in Downtown Los Angeles. When I was
19     transported back to CRDF, I was placed in a holding tank in order for the deputies to
20     process us back to our modules. In that holding tank, there was an older woman dressed
21     in brown colored jail clothing, which I know signifies a hospital housing designation.
22     That woman was coughing a lot and having trouble breathing. There were 15 of us in the
23     holding tank at that time and not enough room to appropriately social distance from this
24     woman. I was in there for about 35 minutes before I was taken back to my housing in
25     module 3700. My temperature was not taken that day in response to this incident and I
26     was not given a mask.
27           5.     On or about March 18, 2020, I had a terrible headache and felt very
28     lethargic. I asked the deputy of my module to see medical and I was told to be quiet and

      DECL. OF CATRINA BALDERRAMA                  -1-
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                                       #:622


 1     lay down.
 2           6.     Between March 18th and 25th I experienced a lot of cramping, chills, a
 3     fever, extreme sweating, a raw and sore throat and the headaches continued. I
 4     consistently asked to be seen by medical staff via written and verbal requests and was not
 5     given the opportunity.
 6           7.     I filed my first grievance on March 25, 2020, asking to speak to Operation
 7     Safe Jails (“OSJ”) as was recommended to me by a sergeant here at CRDF. I never
 8     received a response.
 9           8.     Finally on April 1, 2020, I was allowed to see nurses at the mini clinic on
10     my floor. I was then taken to the main clinic at CRDF and attended to by a doctor and a
11     nurse. At this point they took my temperature and told me I had a temperature of 103.8
12     degrees. They put me in a bed in the clinic. I was feeling nauseous and my head hurt so
13     badly I thought it was going to explode. They gave me Imitrex, Tylenol and an ice pack.
14     They did not administer any kind of COVID-19 test. They tried to get me to eat crackers,
15     but I could not eat anything. My mouth was dry, my lips were peeling and I was
16     incredibly dehydrated. I was there for about one and a half hours without any other
17     treatment. I asked medical staff if I could go back to my cell because the bright lights in
18     the medical clinic were making my headache worse. Before they sent me back to the
19     3700 module, they put me in a holding tank with about five other females, at least one of
20     whom was very old. I was in this holding tank for 2 ½ to 3 hours. They did not give me a
21     mask or gloves at this time.
22           9.     When I arrived back to module 3700, they put me in my cell with my
23     roommate. I still was not given a mask or gloves. The cells are so small that I could not
24     practice social distancing with my roommate. She was not given a mask or gloves either.
25           10.    On the night of April 1, 2020, a male deputy came into my cell and told me
26     to pack my things because I was going to leave. I did not understand what he was talking
27     about and he gave me no more information. While I was packing my belongings, another
28     deputy asked me to step out of my cell so she could talk to me. I thought she was going to

      DECL. OF CATRINA BALDERRAMA                   -2-
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 1     give me more information, so I stepped outside. This deputy then closed the door to my
 2     cell and told me to come with her and not worry about my belongings, that she would
 3     bring them later. She told me she was taking me down to module 1600, which I know is
 4     the module for disciplinary segregation. I asked her what I had done, but she would not
 5     tell me.
 6           11.    The same deputy locked me in module 1600, pod 2, cell 16. The cell is a
 7     single person cell that is in a disgusting condition. I have never experienced anything like
 8     this in my life. There was no toilet paper or soap and there was old food under the bed
 9     and on the walls. She told me my release papers had come through and I was going
10     home. When I got excited about this, she said “April Fools”. She then proceeded to tell
11     me “see you later in hell when you die.” The other deputies that were outside of my cell
12     with her laughed when she said this.
13           12.    They did not bring me my belongings to this cell and did not give me a “fish
14     kit”, the kit with the basic hygienic materials while I was in cell 16. I did not receive my
15     medication and nurses only came by to check my blood pressure. At one point a nurse
16     tried to give me my medications but the deputies refused to open the slot to my cell and
17     the nurses cannot open the slots themselves. I also was not given the opportunity to
18     shower or leave my cell. I was not given soap, toilet paper, nor sanitary napkins.
19           13.    Either the next day or the day after, I was given a paper mask and escorted to
20     a police car waiting outside. They told me I was going to the Correctional Treatment
21     Center (“CTC”) at Twin Towers. All of the deputies on the way to the police car were
22     wearing HAZMAT suits and looking at me like they came to watch a freak show. As I
23     was about to get into the police car, the deputies got a call on the radio saying that my
24     bed at CTC was filled up and so they escorted me back to module 1600. They did not tell
25     me when I would be able to go to CTC for treatment.
26           14.    The next day I was transported to CTC. On my second day at CTC I was
27     tested for COVID-19. They said the test would take four days to return. In the meantime,
28     I was treated well by the doctors and nurses at CTC. They changed my clothes and sheets

      DECL. OF CATRINA BALDERRAMA                   -3-
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                                       #:624


 1     every day, letting me know that these are the types of precautions that need to be taken if
 2     someone potentially has the virus.
 3           15.    On or about April 9th the COVID-19 test came back positive. By April 10th,
 4     CTC had cleared me to go back to CRDF. The instructions from the medical staff were
 5     that I had to be on a special medical diet that included extra fruits and vegetables, non-
 6     stop liquids, and a clean and sanitized environment.
 7           16.    I returned back to CRDF on April 10, 2020. One of the deputies that was
 8     transporting me to my cell told me that I would die in module 1600 from COVID-19.
 9           17.    I returned back to module 1600, pod 2, and this time to cell 15.
10           18.    While incarcerated in module 1600, I am inside my cell 24 hours a day. I am
11     not allowed to make phone calls. I am served food through a slot in my door. The
12     deputies rarely pick up my trash so it piles up by the door. My sink is clogged and fills up
13     with dirty water when other people flush their toilets. The sink is clogged with dirty water
14     so high that I am unable to place a cup under the faucet to catch the water that runs from
15     there in order to brush my teeth or wash myself. I have not been allowed out of my cell to
16     shower while in this module. Before I was sent to CTC I received no soap while housed
17     in 1600. It was not until April 11th that I received half a bar of soap to clean with. No one
18     comes in to clean my cell and I have no access to disinfectant. There are balls of dust
19     everywhere on the floor and the cell is incredibly disgusting.
20           19.    The paper mask I received before being transported to CTC was lost along
21     the way and I did not return to CRDF with a mask. I was told by a deputy that I cannot
22     receive my medication if I am not wearing a mask and I did not receive medication on
23     my first day back from CTC. I was given one mask on April 11, 2020. I have not been
24     given gloves or disinfectant.
25           20.    I have not received my medical diet or the constant liquids I require as
26     prescribed by the doctor at CTC. Milk is the only liquid I am served throughout the day.
27     However, I am allergic to milk and the jail staff is aware of this.
28           21.    The nurse comes to see me three times a day and takes my temperature,

      DECL. OF CATRINA BALDERRAMA                   -4-
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 1     which is now fairly stable, around 97.8/98 degrees. When the nurses take my blood
 2     pressure and temperature, it is through a slot in the door, they do not come inside my cell.
 3           22.    I feel like I am developing symptoms again, like a sore throat and headache.
 4     I am terrified I am going to die in here. My mother is in a coma and I am her conservator.
 5     Yet, I have not been able to call home in 12 days. I am so afraid she might be dead and I
 6     would not even know.
 7           23.    If I were released I would be able to live with my mother-in-law Edna
 8     Franco in Ontario who has a backhouse that has a separate exit and entry so that I could
 9     remain quarantined from other people.
10
11           I declare under penalty of perjury under the laws of the State of California and the
12     United States of America that the foregoing is true and correct. Executed this 17th day of
13     April 2020, in Los Angeles, California.
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      DECL. OF CATRINA BALDERRAMA                  -5-
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                                                                     Ex. 3
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                                       #:627


 1                              DECLARATION OF RODNEY CULLORS
 2     I, Rodney Cullors, certify under penalty of perjury that the following statement is true
 3     and correct pursuant to 28 U.S.C. § 1746.
 4           1.     My name is Rodney Cullors. I am 58 years old and I have been incarcerated
 5     in the Men’s Central Jail in Los Angeles County since February 2019. I’ve been waiting
 6     over a year for a trial in my case. I’m incarcerated because I can’t afford to pay my bail.
 7           2.     Because of my age and medical conditions, I have been terrified about
 8     getting infected with the coronavirus. I have hypertension, heart problems, and spinal
 9     damage. I have also been diagnosed with schizophrenia, bipolar disorder, and manic
10     depression. Due to my spinal damage, I need to use a wheelchair to move around here in
11     the jail. On the outside, I need to use both a cane and leg braces in order to walk.
12           3.     With my age and medical conditions, I worry I won’t recover if I get
13     infected in the jail. I want to feel safe here, but I don’t. I don’t say this lightly, but I am
14     terrified that I am next to get infected. I am terrified that I will die here.
15           4.     There is no way for me to keep clean here in the jail. I don’t have hand
16     sanitizer, and I haven’t had soap in weeks. The jail gives me no soap in my cell, so I
17     can’t wash my hands or my body. Inmates can purchase soap, but it’s expensive and my
18     commissary account is empty. The jail also doesn’t give us any paper towels. We’re
19     given one cloth towel, but they only do laundry once a week. My towel gets dirty
20     quickly since I don’t have soap to wash my hands. With no way to wash and dry my
21     hands, I cannot take even the most basic steps to avoid getting infected with coronavirus.
22           5.     Due to my medical and psychiatric needs, I am confined in a single-person
23     cell. I have access to a shower in my cell, but it is not accessible, and I don’t even have
24     soap. I recently slipped when using the shower in my cell, and I got a laceration on my
25     forehead. The reason I slipped is because the shower in my cell is not compliant with the
26     ADA, and I need to use a wheelchair to move around here. Ever since that injury, I’ve
27     been afraid to use that shower. I don’t want to slip and get hurt again.
28           6.     Once a week, I’m allowed to use an ADA-compliant shower outside my cell.

      DECL. OF RODNEY CULLORS                         -1-
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 1     Even if I’m less likely to get injured there, the shower is extremely dirty. It’s a shared
 2     shower, and as far as I know, it doesn’t get cleaned between different people using it. I’d
 3     be surprised if it ever gets cleaned. Also, the exhaust in the shower is clogged, so it feels
 4     like the air and steam never circulate out of there. I’m scared that someone infected
 5     might use the shower, and I could get sick from that too. The shower is full of mold and
 6     filth. The last time I showered was in the ADA-compliant shower last week, but I think I
 7     might stop doing that from now on in order to protect myself from getting infected while
 8     in there.
 9            7.    No one in the jail has given me any advice or information about the virus,
10     not even medical staff. There are no signs posted. I have not been handed a flyer or any
11     written materials about the virus. On Tuesday, April 7, I talked to nurse practitioner or
12     physician’s assistant. I asked her about the coronavirus and she told me the jail was the
13     safest place for me to be. I think everyone know that isn’t true.
14            8.    The way the food is served means it very easily gets contaminated. Before
15     we get the food, it just sits there in open trays on an open metal cart, sometimes for hours.
16     Other inmates walk by during that time, and I’ve seen people cough and sneeze on or
17     near the food. It’s so easy to do that since the food is just sitting there. The food then
18     gets served to us by other inmates. I’ve seen those inmates cough while serving food.
19            9.    In fact, I learned that a food worker (incarcerated individual) who has been
20     serving food for many months now, I estimate six months, has been quarantined as of
21     Sunday, April 12 because he may have tested positive for COVID-19. No deputy has
22     asked me if I am experiencing symptoms even though this food worker has served me
23     food recently.
24            10.   I stopped eating for days because I know the food the jail feeds us is
25     unhygienic and unsafe. After five days, I finally ate on Tuesday, April 7, when a deputy
26     who knows I wasn’t eating brought me a tray wrapped in plastic. The food was nothing
27     different from normal, but it tasted amazing after the days of starvation. I’m still scared
28     of the jail’s food though. I need to eat but I don’t want to get infected.

      DECL. OF RODNEY CULLORS                       -2-
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 1           11.      We are able to use a shared dayroom, but it’s very small, probably 10 by 14
 2     feet or 12 by 18 feet. There’s typically around twelve people crammed into that tiny
 3     space, and it looks like it’s never cleaned. I often see spit on the walls or surfaces,
 4     sometimes wet or sometimes dry and crystalized. I usually try my best to use the
 5     dayroom when I can, in order to get out of my cell, and I last went this past Wednesday
 6     morning, April 8. There were less people there, around six or so, but it was still
 7     impossible to stay six feet away from others since the room is so small. People were not
 8     wearing masks, and one person without a mask had a violent hacking cough. I do not
 9     want to go back there again.
10           12.      On April 10 around 1:00 AM or 2:00 AM, a deputy dropped off a box of
11     masks for our unit. The masks were poor quality and extremely flimsy. As soon as I put
12     mine on, the strap broke. Before this, I’d been trying to use a small mask that a nurse
13     who I know gave me three weeks ago. This mask can go over my mouth but doesn’t
14     always stay over my nose. I don’t have any soap to clean the mask, so it’s been
15     unwashed the entire time. And no one told me how to clean it anyway. After the new
16     mask they gave me broke, I went back to using my old, uncleaned one. The jail staff
17     recently handed the prisoners in the medical unit brown cloth masks, but provided no
18     instructions on how to wash or clean it.
19           13.      Even though I’m confined in a single cell due to my medical needs, it is
20     impossible for me to maintain distance from others in the jail when I leave my cell for
21     attorney visits or medical appointments. The deputies seem to be keeping distance and
22     taking other measures to protect their own health, but they do not permit us to stay distant
23     from others.
24           14.      In fact, the deputies are keeping their distance in ways that force us inmates
25     into close contact. For example, when I was coming to the attorney visitation area on
26     April 10, the deputies made us line up against the wall away from them squished up close
27     to each other. In the elevator down to the visitation area, people were coughing. I was
28     very concerned about being required to share such a small confined space with people

      DECL. OF RODNEY CULLORS                        -3-
     Case 2:20-cv-03760-RGK-PLA Document 13-5 Filed 04/24/20 Page 21 of 87 Page ID
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 1     who were coughing.
 2             15.    I’m also forced into close contact with others whenever I need medical care.
 3     Last week, I was transported from the jail in a van with other wheelchair-confined
 4     inmates because I needed an MRI. There were three of us in total chained to the
 5     wheelchair van, all on our way to medical care. All of us were over 50. None of the
 6     other men had masks, and some were coughing. I tried to stretch my shirt over my face
 7     to protect myself.
 8             16.    I was in the “Urgent Care” clinic here about a month ago because I had
 9     spasms in my lower extremities. The inmate on the gurney right next to mine, about two
10     or three feet away, was very sick and coughing. His shirt was off, he was sweating
11     profusely, and his eyes looked yellow. I was next to him for 30 to 45 minutes. Everyone
12     was standing around him with masks on. I asked for a mask, feeling worried about the
13     droplets from his coughing. The nurses then pulled the dividing curtains. There was
14     nothing separating me from him until I mentioned it. After my appointment, a nurse who
15     was transporting me back to my cell told me that this patient was infected with
16     coronavirus.
17             17.    If I were to be released, I could stay either with my sister or a friend. I used
18     to see a doctor regularly before I was in jail. If I wasn’t here, I would be able to
19     quarantine, and I would be able to ask my doctor for the medical care and advice that I
20     need.
21             18.    I am concerned that I would not receive prompt medical care if I were to
22     become infected in jail. Whenever I put in a request for medical care, it takes a month
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      DECL. OF RODNEY CULLORS                         -4-
     Case 2:20-cv-03760-RGK-PLA Document 13-5 Filed 04/24/20 Page 22 of 87 Page ID
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 1     before they see me. That’s in normal times, and I know they have lots more medical
 2     requests right now due to the virus. I don’t want to die here. I should not be here. I am
 3     going to be 60 next year. Well, I hope I am.
 4
 5           I declare under penalty of perjury under the laws of the State of California and the
 6     United States of America that the foregoing is true and correct. Executed this 17 th day of
 7     April 2020, in Los Angeles, California.
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      DECL. OF RODNEY CULLORS                      -5-
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                                                                     Ex. 4
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                                  #:633


    1                    DECLARATION OF HOLLY DAVIDSON
    2 I, Holly Davidson, make this declaration of my own free will. I have personal

    3 knowledge of the facts set forth herein and if called as a witness, could and would

    4 testify competently thereto:

    5 1.     I am currently incarcerated at the Century Regional Detention Facility
    6 (“CRDF”), in Lynwood, California. I am 33 years old and have been incarcerated

    7 here since May 8, 2019 awaiting trial.

    8 2.     I am housed in module 3200 in a cell with a roommate. This module is
    9 considered moderate observation housing. The cell is about 8 feet by 15 feet and

   10 contains one toilet, one sink, a desk, and a 2-tiered bunk bed. There is no possible

   11 way to be six feet away from my roommate at any given time.

   12 3.     My cell door opens up onto the dayroom. There are 12-13 women who
   13 sleep in the day room. The bunk beds in the day room are grouped very closely

   14 together, about one foot away from each other. Everyone in the day room eats

   15 together and they are not six feet apart.

   16 4.     I do not come out of my cell, except for one hour per day. When I am in my
   17 cell, myself and my roommate each stay on our bunks and read. We do not play

   18 cards or interact in a way that could spread the virus.

   19 5.     I have been diagnosed with post traumatic stress disorder (“PTSD”) since a
   20 very early age. I take Seroquel and Risperdal for my PTSD.

   21 6.     I was diagnosed with lymphoma in February of 2016. In 2016 I had one
   22 round of chemotherapy which sent me into cardiac arrest and I did not have

   23 another round of chemotherapy after that. When I arrived here, they performed a

   24 PET scan and told me I was in remission. However, every morning I wake up with

   25 pain in my lower abdomen. I have been given Motrin for this pain. As a result of

   26 my lymphoma sometimes my leg swells up and I cannot move; other times my leg

   27 goes numb. I am scheduled for a blood test on April 16, 2020, but I am scared to

   28 go to medical because I am afraid to contract COVID-19.

                                            -1-
                             DECLARATION OF HOLLY DAVIDSON
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    1 7.    I also have asthma and I am able to keep Albuterol in my cell.
    2 8.    I have had seizures in the past, which I understand might be related to a
    3 diagnosis of mild narcolepsy. My last seizure was in August or September of

    4 2019. I am prescribed Keppra for these seizures.

    5 9.    I put in a medical request for a mask around the end of March and followed
    6 up with a grievance one week later. I finally received one mask on April 11, 2020.

    7 It is a cloth mask made by the women here. I do not know if this mask will protect

    8 me or others from contracting the virus.

    9 10.   On or about April 6, 2020 I was seen by medical staff and had my vitals
   10 tested because I was having a hard time breathing. I was told my blood pressure

   11 was low, but that otherwise my vitals were fine.

   12 11.   I do not believe the jail staff was taking this pandemic seriously until the
   13 week of April 6, 2020.

   14 12.   There are three videos that jail staff have played in our module about
   15 COVID-19. From my cell I cannot see or hear them very well. The only things I

   16 have learned from them is to cough into my elbow and how to wash my hands. I

   17 do not know if I should be eating food from the commissary, how often to clean

   18 my room, or what to eat from the kitchen.

   19 13.   I am given half a bar of soap every day for free, but no hand sanitizer. I get
   20 clean laundry once a week, but sometimes I do not get clean boxers every week.

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                            DECLARATION OF HOLLY DAVIDSON
Case 2:20-cv-03760-RGK-PLA Document 13-5 Filed 04/24/20 Page 26 of 87 Page ID
                                  #:635



    I

    I    14.   I have not been told if anyone at CRDF has tested positive for COVID-      19.

    -)


    4    I declare under the penalty of perjury under that the foregoing is true and correct.
    5          Executed tns =,|-!| day of April ,2020, at Lynwood, California.
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                                                              Holl v Davidson
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                                DECLARATION OF HOLLY DAVIDSON
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                                                                     Ex. 5
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                                  #:637


    1                        DECLARATION OF CAROLE DUNHAM
    2 I, Carole Dunham, make this declaration of my own free will. I have personal

    3 knowledge of the facts set forth herein and if called as a witness, could and would

    4 testify competently thereto:

    5         1. I am currently incarcerated in the Century Regional Detention Facility in
    6 Lynwood, CA. I am 30 years old and a mother of two.

    7         2. When I was 9 years old, I was diagnosed with Type 1 Diabetes. The nurses
    8 check my blood sugar levels and I receive insulin shots four times a day. For a

    9 couple of months, I was receiving too high a dose of insulin and constantly had

   10 low blood sugar. My dose has now been adjusted. I have consistently had trouble

   11 managing my blood sugar in jail, in part because the food is so unhealthy.

   12         3. There are four other diabetics who I know of in my unit, which is module
   13 3700. I also know of other diabetics in the next module, 3600. I heard on the

   14 news that people with diabetes have a higher risk of getting infected and not

   15
        recovering, and so I have been very scared. My mother has also been scared and
   16
        worried for me.
   17
              4. I was first convicted in 2014 on a non-violent charge. The judge gave me 3
   18
        years probation and 608 hours of community service. When the three years were
   19
        up, I had not yet completed my community service—I had 100 hours remaining.
   20
        My daughter was only three years old at the time, and her father had died in 2016.
   21
        As a result of that trauma, health problems I was having at the time, and trying to
   22
        care for my daughter alone, it was hard for me to complete all my community
   23
        service. I did not get it done by the extended date the judge set. Due to my failure
   24
        to complete the community service, the judge decided to sentence me on the
   25
        original crime to three years in jail. I began my sentence in August 2019 in the
   26
        same module I am in now, module 3700.
   27

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        {H0615990.1}                           -1-
                                 DECLARATION OF CAROLE DUNHAM
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    1         5. I am an inmate worker in my module. My job is to clean the module, which
    2 I do every day. When the inmate workers clean the module, they give us gloves

    3 but no masks. The cleaning solution they give us has a label that says “Citracide”.

    4         6. I used to sleep in the dayroom of the module, which is a central area that all
    5 the cells open onto, but not long ago, maybe two weeks ago, I have been given a

    6 roommate, Jacqueline Valenzuela, and we both share a cell. Meals are delivered

    7 to our cell and the sink and toilet are in our cell. If we are not awake when meals

    8 are delivered, they place them on the floor right next to the toilet. It does not

    9 seem sanitary to put the food there.

   10         7. We are allowed to use the dayroom but they have decreased the number of
   11
        people who can be in the dayroom at one time.
   12
              8. My roommate and I were not given any masks until this morning. The
   13
        mask I have now is made of cloth, sewed by other inmates. They gave each
   14
        person only one mask. I wash the mask in my sink. Before we received these
   15
        masks, I observed some of the women in my module make their own masks out of
   16
        materials in their cell. A deputy in our module kept making those women take off
   17
        their face coverings and said we were not allowed to have face coverings. She
   18
        told them they would be sent to 23-hour disciplinary lockdown if they keep those
   19
        face coverings. I heard the deputy say this to someone as recently as this past
   20
        Wednesday.
   21
              9. There is no hand sanitizer in the dayroom or in our cells, although the
   22
        deputies have hand sanitizer at their desk. There is a large sink in the dayroom,
   23
        but the soap dispenser has been out of soap the entire time I have been here, since
   24
        last August. There are no paper towels to dry your hands on at the sink in the
   25
        dayroom or at the sinks in our cells.
   26
              10. When we were allowed to access the dayroom, we had a schedule for who
   27
        would clean the showers, and they were cleaned every day. Now, there is no set
   28

        {H0615990.1}                            -2-
                                 DECLARATION OF CAROLE DUNHAM
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    1 assignment for cleaning the showers. I did see one inmate volunteer one day to

    2 clean the showers at night, but there does not seem to be any policy or plan for

    3 cleaning the showers.

    4         11.There is only one small pot for heating up water for all the inmates. We all
    5 use that same pot and it is the only thing that keeps us warm when it is really cold

    6 in here. There is no procedure for cleaning that. There is dirt in the hallways and

    7 in the carpets.

    8         12. When I am cleaning for my inmate worker duties, I wipe the phones down
    9 approximately three times per day. But we all use the same phones throughout the

   10 day, and they are not wiped between each use. I have seen people cough on the

   11
        phones. These are the phones we use to call our families and call our attorneys.
   12
              13. In late March, an inmate fell sick in one of the cells. This illness occurred
   13
        while I was still sleeping in the dayroom, so I was separated from the sick inmate
   14
        by a glass door, and the inmate had been allowed to come out and wander around
   15
        the dayroom whenever she wanted. I saw her coughing and I heard her tell the
   16
        deputy she had a fever. When she told the deputy this, the deputy did not react or
   17
        have her taken to medical. Her roommate then became sick as well, with a fever
   18
        and cough. I heard the roommate coughing, and she told everyone around her that
   19
        she had a fever.
   20
              14.After her roommate fell sick, the deputies came into the module with
   21
        masks, put masks on her and her roommate, and took them out of the module.
   22
        They took the first inmate who had complained out first, and then her roommate.
   23
        I do not know where they were taken to, but they did not return. Before they were
   24
        taken out of the module, they did not have masks.
   25
              15. Two or three days after the inmates were taken out, I and the other inmate
   26
        workers were asked to clean the room so new people could be put in there. I
   27
        complained to the deputies that I did not think it was safe to clean the room at this
   28

        {H0615990.1}                             -3-
                                  DECLARATION OF CAROLE DUNHAM
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                                  #:640


    1 point, especially without a mask. I told them that I thought professionals should

    2 clean the room. The deputies know that I am diabetic and get shots four times a

    3 day. However, the deputies told me that we had to do it because they needed the

    4 cell for new people. I had no mask or protective equipment, so I put a plastic

    5 trash bag over me and wrapped a t-shirt over my face.

    6         16. After I cleaned the room, I started to sneeze and I developed a dry cough
    7 over the next few days. I then told my mother what had happened, and she told me

    8 she was going to call the jail and insist that they take me to medical and give me a

    9 test. She told me she was particularly worried about me because of my diabetes.

   10 Shortly after that phone call, the deputies took me to medical, but the medical

   11
        personnel told me I just had allergies, and did not do a nasal swab or any other
   12
        kind of test. I still have not received any test.
   13
              17. It feels to me as though the deputies do not care if we contract the virus.
   14
        Many deputies do not wear their protective gear in the jail, even though I know
   15
        that they have masks because I see them wearing their masks from time to time. I
   16
        do not understand why they did not even let us use homemade face coverings,
   17
        even as people were getting sick. And I do not understand why there is no
   18
        professional cleaning in the jail. I am worried for myself because I know that my
   19
        diabetes makes me more vulnerable.
   20
              18.\ Over the weekend of April 10, 2020, I asked the deputy on duty for a
   21
        grievance form but the deputy told me there are no forms available in our module.
   22
              19.There is one person in my module who has been coughing all through the
   23
        night in the past few nights. Today, someone else came up to me and said she had
   24
        a fever and a sore throat. I told her to go to the nurses’ station. When she came
   25
        back from the nurses’ station she said that the nurses were just giving her cold
   26
        medicine and did not take her to medical. She went back into her cell, which she
   27
        shares with a roommate.
   28

        {H0615990.1}                            -4-
                                 DECLARATION OF CAROLE DUNHAM
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    1         20.Even when I have a medical need, it is so hard to even see a doctor. After
    2 we submit a medical request form, it takes 2 or 3 weeks before any doctor sees us.

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                                 DECLARATION OF CAROLE DUNHAM
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         20. lf I had developed this cough while liee, I would have called rny doctor'
      and asked for a test due to t.tty uttdellying health condition. As all   illllate   at

      CRDF, however', I atn unable to access a test. I aln vel'y ali'aid fol rny satl'cty.


      I declale under the penalty o1'perjuly undel that the firregoing is tt'ue and cortect.
             Exccuted thisf{clay of April ,2020,at Lynwoocl, Califbmia.


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                              DI]CLARA'TION OF CAROLE DUNHAM
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                                                                     Ex. 6
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 1                            DECLARATION OF JEREMIAH FARMER
 2     I, Jeremiah Farmer, certify under penalty of perjury that the following statement is true
 3     and correct pursuant to 28 U.S.C. § 1746.
 4           1.     My name is Jeremiah Farmer. I am 19 years old and I am incarcerated in the
 5     North County Correctional Facility in Los Angeles County. I am currently serving a one-
 6     year sentence, and concurrent to that I am also awaiting trial since January 9, 2020, on
 7     other charges.
 8           2.     I am currently incarcerated in Dorm 717, along with around 46 other men.
 9     This includes older people. Some of the people in the dorm are over 50, maybe over 60.
10     The dorm is packed extremely tightly. No one was wearing masks until on or around
11     April 15, 2020, when the deputies came around and gave everyone brown cloth masks.
12           3.     Because I am in extremely close quarters with other people and unable to
13     keep any distance from them, I am very afraid of getting infected with the coronavirus.
14           4.     On Tuesday, April 14, someone in my dorm may have identified as being
15     positive for COVID-19. I believe he is now in a hospital. As a result, my dorm was
16     placed in quarantine. We were responsible for cleaning the cell with a bucket of water
17     and diluted cleaning products that was put in there. We wiped the floors and railings with
18     the water in the bucket. We swept the trash. We did not get new bedding, new clothes, or
19     new towels. No nurses came by to check my temperature or to ask me, or anyone else in
20     the dorm, if we were experiencing symptoms. We just got out of quarantine yesterday
21     and everyone in my dorm is on edge. We received no information about whether the
22     prisoner tested positive or negative.
23           5.     I was first given a brown cloth face mask on or around April 15. Probably
24     around two weeks ago, I first saw the officers wearing masks when they came into the
25     dorm. When I saw this, I asked the deputy if I could get a mask too. He said no. None
26     of the other inmates in my dorm are wearing masks. Everyone is breathing and coughing
27     on each other. I am very afraid of getting infected from the other people in the dorm. I
28     have not been provided any instructions on how to clean the brown cloth mask.
      DECLARATION OF JEREMIAH FARMER
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 1           6.     Everyone is in bunk beds in the dorm, stacked three high, and each stack of
 2     bunks is about two or three feet away from the next stack. While laying down, I can
 3     touch the beds next to me. The top bunk is about a foot away from the ceiling.
 4           7.     All day long, others in the dorm are regularly coughing and sneezing around
 5     me, and there is nothing I can do about it. People have been coughing very close to me,
 6     even in the beds right next to me.
 7           8.     The way the meals are served are not sanitary and do not seem safe for
 8     protecting us from the virus. For some meals, other inmates are assigned to drop trays off
 9     at each bed from a shared cart that is slid into the dorm. For other meals, including
10     dinner, inmates serve us the food from large tubs. I have seen them cough on the food
11     and touch their faces when they serve us food.
12           9.     I have also seen people coughing while they use the shared phones. There
13     are a total of six phones in the dorm, and we all share them to call our families or call our
14     attorneys. In my entire time here, I only once saw someone come in to clean the phones.
15     The phones are not wiped clean in between different people using them, and I am worried
16     we could get infected from them.
17           10.    I have never had hand sanitizer in the jail. We are given a small bar of soap,
18     like the kind you see in a motel. The soap is labeled “Freshscent Deodorant Soap” and I
19     don’t think it’s anti-bacterial. The soap is replaced once a week or so, and sometimes I
20     run out of mine before it’s replaced. When that happens, I have to go without soap or ask
21     others to borrow theirs. The guards have the discretion to give us soap – some days they
22     give it, other days they won’t. Ever since our quarantine, the soaps have remained the
23     same and I am concerned that the soaps are not effective against bacteria and viruses.
24           11.    The fifty or so of us in the dorm share only two showers between all of us.
25     An inmate is assigned to clean that shower once a day, but there is no cleaning in
26     between different people using it. On any day, twenty or thirty people regularly use a
27     shower before it’s cleaned. The shower is very dirty.
28
      DECLARATION OF JEREMIAH FARMER
                                                     -2-
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 1           12.    We also used shared sinks to wash our hands. There is sometimes a bar of
 2     soap there but often not, and then I have to go around and see if someone has a bar of
 3     soap nearby for me to use.
 4           13.    I only have one towel to use after both showering and washing my hands. I
 5     get a new towel only when the laundry exchange happens once a month, so I have to use
 6     same unwashed towel for a month.
 7           14.    Other than announcements that we hear over the loudspeaker about covering
 8     our mouths when we cough and washing our hands, no medical staff have given me any
 9     information or advice about coronavirus and what I need to do to protect myself.
10           15.    About two or three weeks ago, a whole bunch of people were brought into
11     the dorm from the North facility up the street here. I heard rumors that they were moved
12     because of coronavirus, but I have no way to know because no one tells us anything.
13           16.    I am very afraid about being in here in such close quarters with dozens of
14     people. We have no protection against infection. I keep hearing about infections in the
15     news and from family, but I have no way to protect myself in here.
16           17.    My mother is a nurse and has been giving me advice on the phone about
17     how to protect myself. My mother is scared for me. She has been urging me to be
18     careful about being too close to other people and about keeping clean, but there is pretty
19     much nothing I can do in here to be careful and protect myself.
20           18.    If I was released, my family could pick me up and I could stay with my
21     mother. If I wasn’t in here, I could quarantine and practice social distancing, and I could
22     get the medical care and protection that I need. In jail, I can’t do much to protect myself.
23
             I declare under penalty of perjury under the laws of the State of California and the
24
       United States of America that the foregoing is true and correct. Executed this 18th day of
25
       April 2020, in Los Angeles, California.
26
27
                                                              Jeremiah Farmer
28
      DECLARATION OF JEREMIAH FARMER
                                                    -3-
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                                                                     Ex. 7
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 1                              DECLARATION OF ANDREW FUENTES
 2     I, Andrew Fuentes, certify under penalty of perjury that the following statement is true
 3     and correct pursuant to 28 U.S.C. § 1746.
 4           1.     My name is Andrew Fuentes. I am 20 years old, and I am a resident of Los
 5     Angeles County. I currently live in Santa Clarita. I was incarcerated pending trial at the
 6     Men’s Central Jail and North County Correction Facility from January 27, 2020, to April
 7     8, 2020. I am still awaiting trial, and I was released from jail because my family paid a
 8     bail bondsman for my bail.
 9           2.     I have long had serious medical conditions related to my liver and bone
10     marrow. I tested positive for hepatitis in early 2017. About a year later, in January 2018,
11     I was diagnosed with severe aplastic anemia, a bone marrow disease. Because of that
12     condition, I was hospitalized for three months and received full-body radiation and
13     chemotherapy, and I received a bone marrow transplant in March 2018. I have been
14     immunocompromised as a result of that condition and treatment. As part of that
15     treatment, doctors also took a bone biopsy, and this procedure caused nerve damage. I
16     then had to go through physical therapy for months in order to teach myself how to walk
17     again. A few years ago, I was also having seizures regularly, about every week.
18           3.     I was arrested and detained pretrial starting on January 27, 2020. I was
19     arrested because I turned myself in, and then I was held on a $50,000 bail. My family
20     and I could not afford this bail amount.
21           4.     On March 24, my public defender tried to get my custody reduced to release
22     on my own recognizance in light of my medical conditions. The judge refused to do this.
23     Instead, he reduced my bail to $49,000. I was finally released early on the morning on
24     Wednesday, April 8, because my family was able to pay my bail through a bondsman.
25           5.     When I was first booked for detention, I received some kind of medical
26     check-up at Twin Towers downtown. I told the doctors at that check-up about my
27     medical history including my hepatitis, anemia, and chemotherapy. Because of the
28     information I shared then, the jail should have known about my prior medication

      DECLARATION OF ANDREW FUENTES                -1-
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 1     conditions and my vulnerability to complications from a coronavirus infection. But they
 2     did nothing to screen, isolate, or protect me.
 3           6.     When I was turned myself in to the Sheriff’s Department and was arrested,
 4     my mom handed the sheriff’s deputies my MedicAlert necklace, which contains crucial
 5     information about my medical conditions and medical history. My mom told the deputies
 6     this was important for the jail to keep in order to monitor and treat my conditions, but the
 7     necklace did not seem to make it beyond that point. I believe the jail put in with my
 8     property, which I did not have access to, and the information was never passed on.
 9           7.     I was housed at North County Correctional Facility starting sometime in
10     early March. I was detained there in a dorm with about 70 or 80 people, all sleeping in
11     double bunks, all of us close to each other. The bunks were attached to each other on the
12     sides against the wall.
13           8.     It was impossible for me to keep distant from others in the dorm. While
14     lying down or sitting on my bunk, I could easily just reach and touch the next person’s
15     bed. There was no way for me to keep six feet away from the person next to me. I tried,
16     but it was impossible. People were coughing and sneezing on everyone, and I was unable
17     to stay away.
18           9.     I asked the guards at North County for masks many times. Other people
19     asked too. But they never gave any of us masks. I never had a mask in the dorm. None
20     of us did. The guards sometimes had masks, but they wouldn’t always wear them.
21           10.    I went to court on March 24 and April 7. Both times that I went to court,
22     everyone going to court that day was first put in a crowded hallway. There were 30 or so
23     of us there in that hallway, from different dorms and different parts of the jail. The
24     hallway was probably 10 feet long and no more than four steps sideways. It wasn’t big at
25     all, and all of us were stuffed in there without any masks or way to protect ourselves.
26     People were coughing and sneezing. After making us line up, the guards handcuffed us
27     and put all of us on the bus. On the bus, I had to share a seat with someone else and was
28     chained to him. No one on the bus had masks. The jail didn’t check temperatures or

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 1     perform any other medical screening either before or after we went to court. Instead,
 2     when we got back, we were put back in the dorm after being exposed to all those people.
 3           11.    In the dorm, I mostly had to figure out myself how to get soap because the
 4     jail only gave me one small free soap when I first arrived, and I ran out of that in two
 5     days. The guards did not hand out soap. When I had money in my commissary, I would
 6     usually use it to buy food because I was hungry, and then sometimes I would trade food
 7     items for soap. For example, I would trade a packet of instant ramen noodles for soap or
 8     other trades like that. Because soap was expensive, I had difficulty buying it or getting it
 9     from other people. The soap that people could get through commissary was just a small
10     white bar, never liquid soap. I never had hand sanitizer. I wish I did, but they never gave
11     us any.
12           12.    We had to do our own laundry in the sink using that same soap that we had
13     to make do with for showering and for washing our hands. In order to save soap, I just
14     showered wearing my clothes. We never had paper towels, just one small cloth towel
15     that we also had to clean ourselves by hand. We never received any laundry detergent for
16     cleaning.
17           13.    A few inmates in the dorm were in charge of assigning jobs among us, and
18     the job I was assigned was cleaning showers. It was the dirtiest job and I didn’t want to
19     do it, but I couldn’t get out of it. I wasn’t really able to clean that well though. There
20     was a bucket of liquid cleaning solution and I tried to use that. I wore a shower-cleaning
21     shoe and used it to try to scrub the shower and pick up hair, filth, trash, and whatever else
22     was in the shower. I cleaned the showers twice a day, but people used it in many times in
23     between cleanings.
24           14.    Some other inmates were in charge of cleaning shared surfaces, like the
25     tables, the floors, sometimes the railings. Those chores were assigned each week, and
26     whether surfaces got cleaned really depended on who was cleaning that week. Inmates
27     used the same wet towels for all of this cleaning, along with the bucket of cleaning
28

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 1     solution. But the surfaces were usually cleaned at most once a day, and we all touched
 2     these common surfaces in between cleanings.
 3           15.    I tried to wipe down the phones before using them, but they were not
 4     regularly cleaned. I have seen people cough on the phones and spit while talking on the
 5     phones. One time the phone was wet with tears when I picked it up because the person
 6     who made a phone call before me was crying.
 7           16.    The jail never really gave us information on the coronavirus, so most of
 8     what I knew came from newspapers or from phone calls with family. I heard from
 9     another person inside that the jail sometimes showed a video about coronavirus, but I
10     never saw it. Maybe the video played while I was asleep.
11           17.    Around the middle of March, I started having severe headaches like
12     migraines, as well as fatigue, chest pain, and shortness of breath. I didn’t know what it
13     was. When I went to medical with these symptoms, all they did was give me Advil. After
14     I told my mom on the phone how I felt and the jail’s response, she called the jail and said
15     I needed more serious medical attention.
16           18.    In late March, I was moved to Men’s Central. I was detained there for about
17     a week and half before I was released. No one told my why I was moved, but it might
18     have been because related to my medical needs because it happened after my mom called
19     the jail and said I needed medical attention. Before I was brought to Men’s Central, a
20     doctor evaluated me at the USC hospital. The doctor at USC told me I should not be in
21     jail during the coronavirus pandemic due to my medical history and conditions. He said
22     he would sign emergency documents so that I would be released from jail. That never
23     seemed to happen though, because I was not released until my family hired the
24     bondsman.
25           19.    After I was brought to Men’s Central, I was put in a cell by myself. The first
26     cell I was detained in was in some kind of medical area. I was not allowed to leave this
27     cell, and I was isolated for the week. I could not shower the entire time because there
28

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 1     was no shower in the cell, and they did not take us to the shared shower. They also didn’t
 2     notify our families of where we were or why.
 3           20.    After a week in that cell, I was to solitary for about a day. From there, I was
 4     moved to a two-man cell with someone else, also in Men’s Central. My cell mate was
 5     over 70 years old and blind. Neither of us had masks. He was coughing on me, and I
 6     was unable to stay away because we were in this small box together. We were breathing
 7     the same air and touching the same surfaces.
 8           21.    There was a dayroom I could use from the shared Men’s Central cell, but it
 9     was always very dirty and there were lots of people in there, so I never went in there. We
10     were allowed to shower every other day, using a shared shower. I think around eight
11     people shared this shower. There was a lot of trash everywhere, and it did not seem to be
12     cleaned.
13           22.    When I first arrived in that new cell, the jail never gave me a clean bed
14     sheet. Instead, I had to sleep on the previous person’s bed sheet. My cell mate told me
15     that previous person who used the cell and used those sheets had come fresh off the street
16     and was coughing and sick too.
17           23.    After about five or six days in that cell, I was moved to another two-man cell
18     in Men’s Central. I had a new cell mate here. He was 39 years old. He also was
19     coughing and sneezing a lot, and I couldn’t stay away from him either. Again, neither of
20     us had masks. He also did not appear to have good hygiene and did not clean or take care
21     of himself. I was very worried about getting infected from him.
22           24.    When I first arrived at Men’s Central, they gave me a kit with a small bar of
23     soap inside, but it only lasted about two days. After that, I again had to trade food from
24     commissary for soap, just like at the last jail.
25           25.    When I was in Men’s Central, I was never given any cleaning solution or
26     cleaning supplies for my cell, even the cells that I shared or where other people had been
27     detained right before. When I was in the first cell that I shared, the one where someone
28     from the street had been right before me, I asked the guards for cleaning solution so I

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 1     could clean my floor and bunk. I asked multiple times, but they never gave me anything
 2     to clean my cell. While at Men’s Central, I was never able to clean my cell or the shared
 3     areas.
 4              26.   After we would eat dinner in our cells at Men’s Central, we would slide our
 5     trays out under the cells. Sometimes they would stay there for hours or days, without
 6     anyone picking them up or cleaning. This did not seem very sanitary. The food was
 7     nasty and smelled as it rotted. In the same hallway, the trash cans were overflowing with
 8     trash.
 9              27.   When I was released, the jail first put me in the tank, a pretty small room the
10     size of a regular bedroom or so. There were around 35 people in that small space, and I
11     was there for five or so hours. None of us wearing masks. People were sitting right next
12     to each other on the floors. There was a bathroom in there but it was filthy and unusable,
13     with food, feces, and urine everywhere. A lot of people were coughing, a lot of people
14     were sneezing, and we weren’t able to go anywhere because we were all crammed in
15     there.
16              28.   Now that I have been released, I have been able to quarantine and get the
17     medical care I need. I was not able to do this while detained. Even though I had these
18     serious and potentially deadly medical conditions that the jail knew about – and even
19     though the doctor who I was taken to said I needed to be released – I was released only
20     because my family was able to put money together to pay a bondsman.
21
22              I declare under penalty of perjury under the laws of the State of California and the
23     United States of America that the foregoing is true and correct. Executed this 22nd day of
24     April 2020, in Los Angeles, California.
25
26
                                                       Andrew Fuentes
27
28

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                                                                     Ex. 8
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 1                         DECLARATION OF VICTOR GUTIERREZ
 2     I, Victor Gutierrez, hereby declare and say:
 3           1.     I make this declaration of my own free will. I have personal knowledge of
 4     the facts set forth herein and if called as a witness, could and would testify competently
 5     thereto:
 6           2.     I am currently incarcerated in Twin Towers Correctional Facility (“TTCF”)
 7     in Los Angeles, California. I have been incarcerated at TTCF since March 13, 2020.
 8     My lawyer has been trying to get me a bail hearing, but he says the courtroom my case is
 9     supposed to be heard in is closed and he has not been able to get me a hearing for a bail
10     motion on the calendar.
11           3.     I am a 22-year-old Latino man. Due to the conditions in the jail, the lack of
12     precautions to prevent the spread of COVID-19 that I have observed from jail staff and
13     deputies, and my underlying health conditions (described below), I live in constant fear
14     that I will contract COVID-19 inside the jail.
15           4.     I am afraid to be locked in a place where I am exposed to COVID-19,
16     especially given how serious the virus is and that I’m vulnerable to contracting the
17     disease.
18           5.     The other inmates and I are given one very small bar of soap and one roll of
19     toilet paper every week. We run out of the soap very quickly, usually within 3 or 4 days,
20     because we use the soap to wash our hands, our bodies, and our clothes. The toilet paper
21     runs out quickly, too, because we have to use the toilet paper to dry our hands since we
22     don’t have access to clean towels or paper towels.
23           6.     I have multiple underlying health conditions: I suffer from acute asthma,
24     sclerosis, inflamed spinal discs, a caloric deficiency, and pre-diabetes.
25           7.     I told the nurse at the Inmate Reception Center (“IRC”) that I have these
26     medical conditions. After waiting 14 hours at the medical facility in IRC to see a doctor,
27     the nurse told me, “You look fine to me,” and had me go back to my cell without any
28     prescriptions and without me seeing a doctor. I was not even given an inhaler. I still
      DECLARATION OF VICTOR GUTIERREZ
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 1     have not received an inhaler to this day.   [[p




 2           8.     It takes 2-3 weeks to see a doctor after a request is submitted. I submitted a
 3     request to see a doctor as soon as I got out of IRC, on March 20th, since the nurse blew
 4     me off. It took three weeks to see the doctor. I finally saw a doctor on April 14th.
 5           9.     When I was finally seen by a doctor in TTCF a week ago, he told me I have
 6     hypertension. When I told the doctor that I see my doctor at home regularly and had
 7     never had high blood pressure before, he told me that my hypertension was likely caused
 8     by the stress of being incarcerated.
 9           10.    The doctor prescribed a special diet for my hypertension, but did not
10     prescribe the higher calorie diet I need for my metabolic disorder. I have lost fifteen
11     pounds in a week because I need to consume more calories and am not provided enough
12     food at TTCF.
13           11.    The doctor also prescribed me a second mattress for my sclerosis and
14     inflamed disc since the mattresses here are as thin as gym mats. I have still not been
15     given a new mattress, though. Instead of prescribing me an inhaler for my asthma, the
16     doctor inexplicably prescribed me Flonase.
17           12.    My asthma is exacerbated by cold temperatures, dust, and pollen. TTCF is
18     kept really cold and the yard is full of dust. These conditions have caused me to have
19     two asthma attacks since March 14th, when I was first booked into County—and I still do
20     not have an inhaler. During my asthma attacks, my lungs feel tight and I have trouble
21     breathing. I requested another blanket to keep myself warm to avoid asthma attacks, but
22     a deputy told me inmates are only allowed one blanket and my request was denied.
23           13.    Because of the low level of my offense and my good behavior, I am trustee
24     at the jail. I am currently housed in a pod with other trustees and disabled inmates that
25     need ADA accommodations. In my pod, there are 8 trustees and 8 ADA inmates. We
26     all sleep in the same dorm-type setting. In our pod, there are bunk beds for the trustees.
27     The person on the top bunk sleeps only 5 feet above the person on the bottom bunk. The
28     bunk beds are only 2 ½ or 3 feet apart from each other. Our beds are so close together,
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 1     in fact, I can sometimes feel the breath of the trustee sleeping in the lower bunk next to
 2     my bunk as I sleep.
 3            14.      All of the men in my pod eat our meals together at one long table. We are
 4     usually so close, we end up bumping elbows.
 5            15.      My pod gets to go to “yard” one day a week. The yard is a small concrete
 6     triangular outdoor area on the seventh floor of TTCF. The yard is only about 50 square
 7     feet that is supposed to be enough space for my entire pod of 16 men to go out at the
 8     same time. Some men use yard time to shave or give each other haircuts. There is not
 9     enough space for us to get any real exercise on the so-called yard.
10            16.      No one in my pod has tested positive for COVID-19, but I hear men in my
11     pod coughing all night. If one of us were to catch the virus, the rest of us would not be
12     able to avoid catching it too.
13            17.      It is possible that some of us already have COVID-19, but we are not
14     allowed to be tested unless the staff decides. The deputies are the ones that decide
15     whether or not to send someone to medical. In order for someone to be tested for
16     COVID-19, they have to have both a fever and cough. One inmate I know had a fever of
17     103 and he was denied a test because he wasn’t coughing. He wanted to be tested
18     because he said his lungs hurt. If someone doesn’t have both a fever and a cough, they
19     are not quarantined away from the rest of us.
20            18.      As a trustee, I work all around the jail, including the public visiting area
21     and floors of the jail where other inmates have tested positive for COVID-19. When
22     trustees are cleaning, we are given a dust mask and a jump suit made out of paper that
23     tears easily.
24            19.      Around April 5th or 6th, the trustees doing my kind of job and I were finally
25     given jump suits. Before that date, we had to clean in the jail clothes we have been
26     issued and continue wearing them for up to two weeks.
27            20.      Often, there is feces and urine on the floors of cells because a lot of men in
28     here seem to be mentally ill.
      DECLARATION OF VICTOR GUTIERREZ
                                                        -3-
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 1           21.     On April 9, 2020, I was cleaning an empty cell. My paper suit tore a bit
 2     while I was cleaning and the dirty liquid from the cleaning product, feces, and urine I
 3     had mopped up seeped through my suit and got into my socks. Before I was able to
 4     request new pants and socks, I had to take out the trash, and remove the mattress and the
 5     blanket the COVID-19 positive inmate had been using.
 6           22.     After I was finished cleaning the cell, a deputy told me for the first time
 7     that the cell was empty because the person who was there had been taken to medical that
 8     morning after testing positive for COVID-19. I could not believe that the deputies did
 9     not warn me before I started cleaning that cell and that I was not given more durable
10     protective gear. Since my socks were soaked in liquid from the contaminated cell, I had
11     to request new socks from the staff. It took them 4 hours to get me a new pair of socks.
12     It was almost 8 hours until I got a clean pair of pants.
13           23.     I could refuse to work as a trustee, but there are a few privileges I get as a
14     trustee that I would not otherwise get. For example, most inmates are only allowed to
15     shower 2-3 times a week, whereas I can shower every day. Inmates are only given 2
16     items of laundry every week. That means they get like a pair of socks and boxers one
17     week, then a clean shirt and pants the next week. As a trustee, when I walk to other
18     floors of the jail, if I see clean laundry, I’m allowed to take a set for myself. That does
19     not happen very often, though, since there is a shortage of clean laundry in the jail.
20           24.     Since we do not get clean laundry very often, we are forced to wash our
21     own clothes with the one small bar of soap we get every week. It makes the soap run out
22     really fast. When I run out of soap, I have to buy some from Commissary. The only way
23     you can make a purchase from Commissary is if you have money on your books. Some
24     guys don’t have any money on their books, so they cannot buy more soap even though
25     we all need it.
26           25.     I have not gotten clean sheets or a clean blanket since I was first put into
27     this pod. There is no way to keep our bedding sanitary or to wash off any viruses that
28     may have landed on the bedding. We all get clean towels only once every two weeks.
      DECLARATION OF VICTOR GUTIERREZ
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 1           26.     Since I am a trustee, deputies have also allowed me to take an extra bar of
 2     soap once or twice. One deputy told me, “Don’t share that with other inmates.” I feel
 3     bad for the others because they need to wash their hands and laundry also. If the other
 4     guys don’t stay healthy, none of us will be able to.
 5           27.     On approximately April 1 or 2, 2020, when I was working in another part
 6     of the jail, a deputy saw that an inmate in my pod was showing symptoms of COVID-19.
 7     He had a cough, runny nose, and fever. The whole pod got locked down on quarantine
 8     but, since I was at work at the time, they allowed me to move to another pod. At the
 9     time, I was relieved that I would not have to be quarantined, but the jail’s decision not to
10     quarantine me really didn’t seem well thought out since I had just been in the pod that
11     morning and would have already been exposed to whatever the other inmate had. The
12     jail only kept the pod on quarantine for a week before they lifted the quarantine and
13     allowed me to move back to my pod.
14           28.     The quarantines here do not seem effective anyway because deputies and
15     other staff do their walk-throughs in quarantined pods and floors. That means deputies
16     go straight from a quarantined area of the jail, into a non-quarantined area of the cell.
17     The deputies don’t wear hazmat suits when they go into quarantined areas. They don’t
18     even change their masks. There are also gaps underneath the doors that separate
19     quarantined areas from other areas of the jail. Whenever inmates walk past a
20     quarantined area, we are at risk for being exposed to the virus.
21           29.     Last week, a male deputy told me that his dad had tested positive for
22     COVID-19 and that he had been with his dad the night before. The deputy came to work
23     that day without a mask on. He interacted with staff and inmates all day.
24           30.     I try to physically distance myself from others as much as I can, but
25     whenever I go to yard, sleep, or eat, I am within 3 feet at the most from other people. I
26     am unable to sleep at night when I hear others coughing and sneezing because I am
27     terrified that I will catch whatever the other men in my pod have.
28           31.    When I am released, I will be able to socially distance and get the medicine
      DECLARATION OF VICTOR GUTIERREZ
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 1     I need. My father will pick me up at the jail and I will live with my parents in Palmdale.
 2     I will feel safe living with my parents because they have been socially isolating because
 3     they work from home. I work as a day trader and I will be able to continue my work
 4     remotely.
 5           32.     Once released from TTCF, I will no longer have to worry about running
 6     out of soap if I wash my hands many times a day, I will have the clean laundry I need,
 7     and I believe my blood pressure will go back down since I won’t have to live in constant
 8     fear of contracting a painful and potentially fatal disease. I will be able to use my
 9     inhaler when I need it, see my physical therapist for my inflamed spinal disc, and speak
10     to my nutritionist about my high-calorie diet.
11
12           I declare under penalty of perjury under the laws of the State of California and the
13     United States of America that the foregoing is true and correct. Executed this 16th day of
14     April 2020, in Los Angeles, California.
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      DECLARATION OF VICTOR GUTIERREZ
                                                     -6-
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                                                                     Ex. 9
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 1                         DECLARATION OF JESSICA HAVILAND
 2     I, Jessica Haviland, make this declaration of my own free will. I have personal
 3     knowledge of the facts set forth herein and if called as a witness, could and would testify
 4     competently thereto:
 5              1.   I am currently incarcerated at the Century Regional Detention Facility
 6     (“CRDF”), in Lynwood, California, awaiting trial. I am 39 years old and have been
 7     incarcerated here since December 19, 2019. My bail is set at $50,000.
 8              2.   I am housed in module 2500 in a cell with a roommate. Immediately before
 9     they put me and my roommate together, she had a 101 degree fever. This was on or
10     around March 15, 2020. The cell we are locked up in is about 10 feet by 10 feet and
11     contains one toilet, one sink, a desk, and a 2-tiered bunk bed. There is no possible way to
12     be six feet away from my roommate at any given time. I was moved to this module from
13     2800 on or around April 7, 2020. When I first arrived, my cell in this module was
14     disgusting. We were put on lockdown for almost three days when we were first moved to
15     this cell without any cleaning supplies. We were only given a very small piece of soap. I
16     had to use a dirty sock and this small piece of soap to clean the cell, including what
17     looked like feces on the wall near the bunk beds.
18              3.   My cell door opens up onto the dayroom. There are 15 women who sleep in
19     the day room. Instead of spreading out the bunks in the day room, they are all crowded
20     together. Each bunk has three beds, known as coffin bunks. When I open my cell door, it
21     hits one of the bunks where three women sleep, which is to the right of my cell. To the
22     right of that set of bunks is another set of bunks that are only approximately three inches
23     away. Women in the day room are sleeping like this, only three inches away from each
24     other.
25              4.   My cell has two air vents in it, one at the top that blows air in, and another at
26     the bottom near the bottom bunk that sucks air out. I am told that all cells in modules
27     similar to mine are like this. These air vents are connected to cells above and below me. I
28     am concerned that if someone on a floor above me who sleeps in a bottom bunk sneezes

      DECLARATION OF JESSICA HAVILAND                -1-
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 1     or coughs, that the disease could be spread through the air vents into my cell. I have
 2     asked jail staff about this and they said “do not worry.”
 3             5.    I am given one hour outside of my cell per day. In this hour I have to
 4     shower, I get 15 minutes to clean my cell, and make any phone calls I might need to
 5     make.
 6             6.    Other than the one hour per day we leave our cell, we also leave to pick up
 7     our meals. The food is laid out in the day room and women who are incarcerated here
 8     serve food to us as we walk down the line holding our trays. The women serving the food
 9     are not wearing masks or gloves. There is no protocol to keep people six feet apart in
10     these lines for food.
11             7.    I have been told by friends who work in the kitchen that women wear masks
12     as they walk to the kitchen, but then they take their masks off in the kitchen while they
13     are preparing food because it is too hot. When women serve us food they have masks
14     around their face, but they often pull them down so they are just around their neck and
15     not covering their mouth and nose.
16             8.    On April 1, 2020, I had a court date. While I was at court, they put me in a
17     cell with six other women who were in street clothes, who had just been arrested. Two of
18     those women were coughing a lot. I never saw those women receive a mask, get their
19     temperature checked, or a test for COVID-19. When I returned back to CRDF that day, I
20     was not given a test for COVID-19 or even a temperature check.
21             9.    On April 6, 2020, a sergeant told us that there had been no positive tests at
22     CRDF, but also that they had not tested anyone in the facility. I was again told by a
23     Sergeant on or about April 20, 2020 that they had not tested anyone at CRDF.
24             10.   On or about April 10, 2020, I began feeling sick. I was getting terrible
25     headaches, I was coughing, and my throat was incredibly sore. I still have all of these
26     symptoms and they seem to be getting worse. My roommate also has developed these
27     symptoms. The only treatment I have been given for these symptoms is Sudafed, and
28     sometimes it is hard for me to get an afternoon dose from the jail staff.

      DECLARATION OF JESSICA HAVILAND               -2-
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 1             11.   In addition to experiencing headaches, coughing, and a sore throat, I have
 2     also developed six sores on my head, which developed two weeks ago. I do not know if
 3     they are related to COVID-19. They have given me Tylenol and Bactrin for them but I
 4     am suffering from intense pain.
 5             12.   I put in a request to see medical staff as a result of my symptoms. When I
 6     was taken to medical, I was in an elevator packed with other women and then placed in a
 7     holding cell in medical where I was maybe half a foot away from every other person, at
 8     best.
 9             13.   A nurse took my temperature and it was 99.9 degrees. My body temperature
10     usually runs low, at around 97.1, which I’ve been told is due to my anemia. To me, 99.9
11     degrees indicates a fever. The nurse did no further tests on me. This nurse was not
12     wearing a mask, but she was wearing gloves.
13             14.   The nurse gave me Sudafed to take three times a day. She did not give me a
14     mask or gloves. I have to pay $3 every time I fill out a medical grievance form.
15             15.   After that, my symptoms worsened. On the morning of April 12, 2020, I put
16     in another request to see medical staff because of the worsening symptoms. I asked the
17     nurse again for a test on April 13 but the nurse said that I did not need to be tested. As of
18     April 20, I have not been tested and they stopped taking my temperature. My symptoms
19     have somewhat alleviated, as I no longer have headaches or a sore through, but I still
20     have a cough.
21             16.   I received one mask on April 11, 2020. That was the first mask I received.
22     The mask is made from cloth by women who are incarcerated here. I do not believe I will
23     receive another mask, nor do I believe that they will be laundered. The mask has a slot
24     for a filter in it, but I have not been given a filter. I have not received gloves as these are
25     considered contraband, even now. I am not given hand sanitizer, tissues, paper towels, or
26     napkins. To wipe my hands or mouth I use toilet paper or sanitary napkins.
27             17.   When I have asked to be kept six feet apart from other people, I have been
28     yelled at by deputies who say things like “do you want to be on lockdown?”

      DECLARATION OF JESSICA HAVILAND                -3-
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 1           18.     When the trustees come around to clean our cells, they only spray the toilet
 2     and sink with Citra-Cide. They do not spray the bunk beds, the door handles, the desk, or
 3     anything else in our cells. I asked if we could keep Citra-Cide in our cell in order to clean
 4     and disinfect ourselves and I was told “no”. I asked for Turbo Kill to clean my cell and
 5     was told that we have no Turbo Kill in our module.
 6           19.     I watch the trustees who clean the day room and they spray Citra-Cide on a
 7     rag and then use the same rag to wipe down the tabletops and the phones. They do not
 8     wipe down the kiosks, sinks in the day room, vending machines, shower handles, or
 9     stairway railings. These are all surfaces that everyone touches on a daily basis. The
10     Citra-Cide they use to clean with is watered down. I used to be a trustee and I remember
11     they would tell us to use one-part Citra-Cide and ten parts water. Looking at the bottles,
12     the solution the trustees are using looks how it used to look when I watered down the
13     Citra-Cide.
14           20.     I am given one new “blue suit” per week, even though we are being told to
15     cough into our sleeves. I have not received a new pair of thermals for months. I am
16     supposed to receive one t-shirt per week, but I do not always get a clean one. I am
17     supposed to receive clean sheets once a week, but I have not received clean sheets in
18     three weeks. I am not allowed to wash my clothes or sheets myself.
19           21.     I have received no verbal information about the COVID-19 virus from jail
20     staff. My mom tried to mail me information about the virus and the mail was returned to
21     her saying it was “unauthorized material.”
22           22.     Up until April 15, 2020, I had not seen any signs with information about
23     COVID-19 posted at the jail. The signs they posted on April 15 tell us to wash our hands
24     for 20 seconds, stay six feet away from each other, to cover our faces, and to use Turbo
25     Kill for cleaning. I still have not seen any videos. The television is turned on once in a
26     while, but they do not turn it on loud enough for me to hear it from my cell. We get one
27     newspaper a day and the trustees receive it first. It is rare that I will get my hands on that
28     newspaper.

      DECLARATION OF JESSICA HAVILAND                -4-
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 1             23.   Sheriff’s deputies are telling us not to hoard toilet paper and that we will be
 2     thrown in the hole if we have more than two rolls of toilet paper. However, we have been
 3     told that hundreds of cases of toilet paper have gone missing and that now deputies are
 4     being searched on the way out to make sure they are not smuggling toilet paper out of the
 5     jail.
 6             24.   It is my understanding that deputies are not being required to take
 7     temperature checks every day as they enter the jail. Further, I only see about half of the
 8     deputies wearing masks on any given day. I have seen deputies who are not wearing
 9     masks yelling in the faces of women who are incarcerated here, coming within inches of
10     the women’s faces. I was taken to urgent care on April 17, 2020 for the sores on my head,
11     and when I was transported there by two deputies in the patrol car, neither of them were
12     wearing masks.
13             25.   If released from CRDF, I would be able to live in an in-law suite by myself
14     at the bottom of my friend’s house, which is in Sunland-Tujunga in Los Angeles County.
15             26.   I am incredibly worried about my family on the outside as my two adult
16     children live with my mother. My mother has a diagnosis of pulmonary arterial
17     hypertension (“PAH”) and has had a fever for the past few days as have my children.
18     I have been told that PAH can be hereditary, and I worry that I have it and that will make
19     me at high risk for contracting COVID-19.
20
21             I declare under penalty of perjury under the laws of the State of California and the
22     United States of America that the foregoing is true and correct. Executed this 19th day of
23     April 2020, in Lynwood, California.
24
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26
                                                           Jessica Haviland
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      DECLARATION OF JESSICA HAVILAND                -5-
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                                                                  Ex. 10
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1                          DECLARATION OF ALBERT KIRK JONES
2      I, Albert Kirk Jones, hereby declare and say:
3             1.     I make this declaration of my own free will. I have personal knowledge of
4      the facts set forth herein and if called as a witness, could and would testify competently
5      thereto.
6             2.     I am currently incarcerated in Men’s Central Jail (“MCJ”) in Los Angeles,
7      California. I have been incarcerated at MCJ since November 28, 2018, awaiting trial.
8             3.     I am a 64-year old Black man and I will be turning 65 in two months. Due to
9      the conditions in the jail, the lack of precautions to prevent the spread of COVID-19 that
10     I have observed from jail staff and deputies, my advanced age and my underlying health
11     conditions (described herein), I live in constant fear that I will contract COVID-19 inside
12     the jail setting.
13            4.     I have a history of respiratory illness. Since I was a child, my lungs have
14     been vulnerable to collecting fluid. I have had several bouts of debilitating pneumonia in
15     my lifetime. I am also prone to bronchitis, which I have fallen ill with multiple times in
16     my lifetime, including 2 ½ months ago during my incarceration at MCJ. As a result of
17     those conditions, I have diminished lung capacity, which has manifested in breathing
18     difficulties, including difficulty breathing while I am sleeping at night.
19            5.     I need a CPAP machine at night because of obstructions in my airways.
20     Until approximately April 7, 2020, I had a CPAP machine in the jail. It was taken away
21     from me because, I was told, that a CPAP machine spreads COVID-19. I was not given
22     any kind of notice or documentation when my CPAP machine was confiscated.
23            6.     Now that my CPAP machine has been confiscated, I experience difficulty
24     sleeping at night. Sometimes, it’s hard for me to breathe without the CPAP machine. I
25     advised medical personnel that I needed the CPAP machine to sleep and breath
26     comfortably at night. They provided me with no other options for me to keep using my
27     CPAP machine in order to address my obstructed breathing at night.
28            7.     Because my CPAP machine was taken from me, on April 11th, I awoke

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1      gasping for air while I was napping because I stopped breathing.
2            8.     From approximately March 5, 2020 until April 15, 2020, I was housed in the
3      MCJ Medical Unit in a 3-man cell. The layout of the cell included three beds, a toilet and
4      a sink. The beds were each three feet apart. It was impossible for my cell mates and I to
5      maintain 6 feet distance from each other while sleeping, eating or doing any activity that
6      involves sitting or lying down. All meals were delivered to us. We ate near each other,
7      urinated and defecated within a few feet of each other, and were constantly in each
8      other’s space.
9            9.     On or around Wednesday April 8, I was told by the guards that they were
10     planning to move me from my medical cell to general population, where I would be
11     staying in a small cell with dozens of other people, any of whom could be carriers of
12     COVID-19. A nurse practitioner, three deputies, one sergeant and one jailer told me that
13     because my CPAP machine was discontinued, I was now “declassified” from medical
14     and needed to be moved to general population. This caused me great anxiety because I
15     am vulnerable to serious illness if I contract COVID-19. I have a history of bronchitis,
16     pneumonia, breathing abnormalities, and a heart condition. I also have not been seen by a
17     doctor who can assess my condition for discharge. I feel that the guards are not following
18     protocol, and placing me in danger of COVID-19 spread. I pleaded with them to let me
19     stay in medical for all of these reasons. They backed off the first time, but tried to move
20     me again on Thursday, April 9. They then tried again on Saturday, April 11, around 8:00
21     am when I was on the phone with my wife. I again pleaded to stay, and the guards gave
22     me a disciplinary for “noncompliance”. The consequences of this disciplinary is no
23     commissary, no visitation, and no vending. The guards informed me that if I continued to
24     refuse to move to general population, I would be placed in solitary where I would loss all
25     my privileges.
26           10.    On April 15, I was physically removed from my medical cell by five police
27     officers, one jailer, and one sergeant. They were shouting profanities at me as I pleaded to
28     stay because of my medical conditions and my fear of COVID-19. I experienced an

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1      anxiety attack, chest pains, and difficulty breathing. They had to bring me to Urgent Care,
2      where the nurse told me that my blood pressure was high.
3               11.   I am now in general population in 5700. It is a 96-bed dormitory filled
4      almost to capacity with only 10 empty beds. In the few days that I have been here, I have
5      observed no cleaning of the dorm by trustees or a cleaning team. I don’t have access to
6      any disinfectant products. The beds are all extremely close to one another, spaced less
7      than six feet apart. I am afraid of retaliation and harassment by the guards in the medical
8      unit who physically extracted me and placed me in general population.
9               12.   Before April 10, 2020, no one in the jail – neither medical staff nor the
10     Sheriff’s deputies – had provided me with protective gear such as masks, hand sanitizer,
11     or gloves. Late on the night of April 9th, after my cellmates and I had already gone to
12     bed, the deputies came into my cell and gave one mask to each person. The deputies did
13     not tell us how to use the masks or give us any information about when we’d be getting
14     any “refills” if we were getting any. Because the mask provided on April 9th is made out
15     of flimsy thin cloth, I continue to use the face mask I was provided when I was
16     discharged from MCJ a few months ago after a bout of pneumonia. This mask is intended
17     for single use only.
18              13.   Before that, the only people who had masks were the deputies and some (but
19     not all) trustees. Some nurses wore masks while others did not. Not all of the deputies
20     wore masks, which concerns me as deputies, medical staff and jail staff come in and out
21     of my cell multiple times a day to conduct checks, deliver medications, or to drop off our
22     meals, and they are not always wearing masks. I saw deputies, medical staff and jail staff
23     cough and sneeze inside my medical cell, which I was powerless to do anything about.
24              14.   Each person is provided one free tiny bar of soap and one roll of toilet paper
25     once a week. I used up my free bar of soap within days. I have had to buy soap from
26     commissary after that, which takes away from my limited funds for other necessary
27     items.
28              15.   In the medical cell, clean clothing was provided to me only on a weekly

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1      basis. As such, I have no access to daily clean laundry. My cellmates and I showered
2      3x/week only. The showers were shared with the entire Medical Unit. There is a yard call
3      once a week 6am-9am, but I don’t go to yard for fear of COVID-19 spread.
4               16.   My medical cell was not cleaned regularly. Trustees typically came and
5      cleaned my medical cell about once a week. They were not always wearing masks. The
6      cleaning involved clearing the trash bins; sometimes they will also sweep and/or mop the
7      floor. I don’t know what disinfectant products they use to mop the floor (if any). We
8      don’t know if they’ve mopped the floors of the other cells with the same water. In my
9      time in that medical cell, there was not been a thorough cleaning of every part of my cell.
10     Although we asked for disinfectant products to use inside the cell so that my cellmates
11     and I could disinfect shared surfaces, these were denied to me.
12              17.   MCJ also had outbreaks of mumps and measles. Those who had mumps and
13     measles were quarantined for two to three weeks.
14              18.   Despite my known respiratory illnesses, MCJ staff, deputies, and medical
15     personnel have not taken any special precautions to prevent the spread of COVID-19 to
16     me. Instead, they moved me to general population where my risk of exposure, severe
17     illness, and death is all but near certain without providing me with any information about
18     COVID-19 or how to prevent its spread.
19              19.   Due to the visitor restrictions, I have not seen my wife in nearly four
20     months. I am afraid I will die in jail and never be able to see my wife’s beautiful face
21     again.
22              20.   My fears of dying from COVID 19 are reinforced by my experience with
23     medical care within the jail. In my experience, the medical care at MCJ is substandard to
24     the medical care I receive outside of jail, and on at least one previous occasion, was
25     inadequate to address the needs of my complex lung-related medical conditions. Medical
26     staff did not prescribe sufficient inhalers, and as a result, I had to save my inhalers to
27     avoid going into respiratory distress without sufficient medication. My last bout of
28     bronchitis was treated at MCJ about 2 ½ months ago. On or about January 28, 2020, I

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1      became ill inside the jail. I had a cough, fever, and body aches. I knew about COVID-19
2      because I read about it in the newspapers that are circulated at MCJ. At the time, I was
3      housed in a 1-man cell on the 7000 floor. I was transferred to Twin Towers, where I was
4      examined and told that I was being tested for the flu, not COVID-19. I wanted to be
5      tested for COVID-19 because of my symptoms, but no test was provided. I was
6      concerned about not being tested for COVID-19 because of my own health and also
7      because I did not want to transmit the illness to others. I was put in isolation for 5 days
8      and then sent to the Medical ward to a 3-man cell where I was until I was physically
9      extracted and placed in general population. Some days medical staff didn't check on me.
10           21.    If released, I will return home to Vista, CA, where I have my wife and six
11     children and twelve grandchildren. I have been a pastor for the last fourteen years at the
12     Eternal Life Apostolic Church in Oceanside, California, and would be returning to a
13     community that supports me. If released, I will be able to see my regular doctor, get back
14     on my CPAP machine, and practice safe social distancing.
15
16           I declare under penalty of perjury under the laws of the State of California and the
17     United States of America that the foregoing is true and correct. Executed this 17th day of
18     April 2020, in Los Angeles, California.
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      DECL. OF ALBERT KIRK JONES                    -5-
Case 2:20-cv-03760-RGK-PLA Document 13-5 Filed 04/24/20 Page 64 of 87 Page ID
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                                                                  Ex. 11
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                                       #:674


 1                                DECLARATION OF LEANDREW LEWIS
 2     I, LeAndrew Lewis, certify under penalty of perjury that the following statement is true
 3     and correct pursuant to 28 U.S.C. § 1746.
 4           1.     My name is LeAndrew Lewis. I am 28 years old and incarcerated in the
 5     North County Correctional Facility in Los Angeles County.
 6           2.     I am diabetic, and I have had high blood pressure for years. I also suffer
 7     from bronchitis whenever I get a cold. When that happens, I have trouble breathing
 8     unless I use an inhaler.
 9           3.     I have been incarcerated awaiting trial since November 13, 2019. The
10     reason I am incarcerated is because my family and I are too poor to afford the bail
11     amount in my case.
12           4.     I have been trying to defend my innocence, and my attorney and I are ready
13     to go to trial. The trial was scheduled for today, April 13. But I was not taken to court,
14     and when my lawyer went to court in Antelope Valley today the judge said the trial date
15     had been moved to June 11. I am worried they will keep delaying my trial and I will be
16     stuck here. I want to take my case to trial and prove my innocence, but I am terrified I
17     will get infected with the coronavirus while I wait for that in jail.
18           5.     It is impossible for me to protect myself from being infected with the
19     coronavirus while in jail. I am currently confined in a dorm along with 60 or so other
20     people, packed too close to keep distance from each other. On or around the week of
21     April 13, 2020, for reasons that were not explained to us, the deputies moved the 30 or so
22     people in my previous dorm, including me, into another dorm that already had about 30
23     other people living there. We are now all housed in a dorm that has about 66 beds. This
24     new dorm is almost filled to capacity. The movement may have been related to the fact
25     that almost all the dorms near me have stickers on the front that say “no movement in or
26     out”, which I think means that that the dorms are in quarantine for COVID-19.
27           6.     I sleep on the bottom bunk, below two other inmates. The bunks are
28     separated only by a couple feet from each other. The bunks are so close that if I reach an

      DECLARATION OF LEANDREW LEWIS                  -1-
     Case 2:20-cv-03760-RGK-PLA Document 13-5 Filed 04/24/20 Page 66 of 87 Page ID
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 1     arm out on either side of the bunk, I can immediately touch the next person. We spend
 2     our time within arm’s reach of each other.
 3           7.     We were provided brown cloth masks on or around April 16, 2020 and told
 4     by the deputy to wear it only when leaving the dorm. Deputies have not provided hand
 5     sanitizers or masks. People are regularly coughing and sneezing in the dorm within a few
 6     feet of me, including the people in the beds that surround me.
 7           8.     Everyone in the dorm shares showers and urinals. There is no professional
 8     cleaning of the shared showers. There is a mop bucket near the showers that has some
 9     kind of soap in it, but the showers are not cleaned between uses.
10           9.     The jail collects our laundry about once a month or so. Until that happens,
11     we have to keep using the same uniforms, sheets, and the single towel we are given. All
12     these items come in close contact with other people, but I am unable to keep them clean.
13     The last time I received clean laundry was the end of March or so.
14           10.    I do not know have much information about coronavirus because the jail has
15     not been telling us much anything. Every day or so, the jail plays recorded video that
16     mentions coronavirus and says there are no positive cases in the facility. It is the same
17     recorded video they keep playing.
18           11.    I try to watch out for people who are sick and avoid them best I can. I don’t
19     want to get sick and I am trying to protect myself. But the truth is I’m not able to keep
20     distant from others here in the jail.
21           12.    At least three times in the past few weeks, I have seen people who have a
22     cough or cold symptoms in my dorm go out with a medical pass to obtain medical
23     treatment, and then they did not return. They might be infected with coronavirus, but I
24     do not know because no one tells us. They don’t let us know anything.
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      DECLARATION OF LEANDREW LEWIS                 -2-
     Case 2:20-cv-03760-RGK-PLA Document 13-5 Filed 04/24/20 Page 67 of 87 Page ID
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 1           13.    If I was released from jail, I could stay with my family. I would stay with
 2     my mom, and my sister and other family could pick me up or arrange for someone to do
 3     that. If I wasn’t in jail, I would be able to quarantine. But in here, I know I am at risk of
 4     getting sick, and I am very afraid.
 5
             I declare under penalty of perjury under the laws of the State of California and the
 6
       United States of America that the foregoing is true and correct. Executed this 18th day of
 7
       April 2020, in Los Angeles, California.
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11                                                  LeAndrew Lewis
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      DECLARATION OF LEANDREW LEWIS                 -3-
Case 2:20-cv-03760-RGK-PLA Document 13-5 Filed 04/24/20 Page 68 of 87 Page ID
                                  #:677




                                                                  Ex. 12
     Case 2:20-cv-03760-RGK-PLA Document 13-5 Filed 04/24/20 Page 69 of 87 Page ID
                                       #:678


 1                           DECLARATION OF JEFFREY LIVOTTO
 2
 3     I, Jeffrey Livotto, certify under penalty of perjury that the following statement is true and
 4     correct pursuant to 28 U.S.C. § 1746.
 5           1.     My name is Jeffrey Livotto. I am 28 years old and I have been incarcerated
 6     in Los Angeles County since on or around March 25, 2020. I am currently housed in the
 7     North County Correctional Facility. I am serving a 16-month sentence, for which I got
 8     half time for a Vehicle Code violation.
 9           2.     I have also suffered from asthma since I was young, and I have had serious
10     asthma attacks over the years. Whenever I run or do any strenuous activity, the asthma
11     flares and my lungs feel like they are burning. I know asthma can make the coronavirus
12     deadly, and I am very worried about that happening. The jail knows I have asthma, but
13     they have done nothing to protect me from the virus.
14           3.     I have been moved between two dorms in the North County Correctional
15     Facility since arriving here almost three weeks ago. Before that I was incarcerated at the
16     Men’s Central Jail, where I was in a four-person cell. I remember the other men in that
17     cell were coughing, and I was not able to keep away from them. Last Thursday I was
18     moved to my current dorm. I have been exposed to a lot of different people due to all
19     these moves, and no one has explained to me why I keep being moved.
20           4.     There are over 60 people in my current dorm, with three people to each bunk
21     bed. This is a working dorm, and our work is cooking food for the sheriffs. We are all
22     packed very closely together and unable to distance from each other. Each bunk above is
23     less than a foot or two up from the one beneath, and the beds on either side of me are so
24     close that I bump into them if I reach my arms out while lying down. On or around April
25     14, my dorm was placed in lockdown. The 60 of us were segregated into three different
26     groups and placed in different dormitories right next to each other. The jail quarantined 2
27     out of the 3 groups (mine included), and did not quarantine the third one. While in
28     quarantine, I did not get tested. No one took my temperature. No one asked me if I had
      DECLARATION OF JEFFREY LIVOTTO
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 1     any symptoms. I also could not get any laundry. The deputies also came into our
 2     quarantined dorm to do counts. Some of the deputies pulled their masks below their
 3     mouths when they came into our dorm to do the counts. Our dorm is out of quarantine
 4     now, but we don’t have any information about the status of COVID-19 in our dorm or at
 5     NCCF.
 6            5.     I know we were arrested or convicted, but we still have the same health
 7     needs as anyone else. We still have rights. It feels like everyone is forgetting about us.
 8     It feels like the jail is just waiting for us to get sick and die.
 9            6.     The jail gave me a mask to wear on or around April 15, but I have not been
10     given gloves or hand sanitizer in the dorms.
11            7.     I’m very worried that I’m going to get sick from the coronavirus. I am in
12     extremely close quarters with other people and can’t keep any distance from them, and
13     we don’t have any mask or gloves to protect ourselves. Other people in the dorm are
14     constantly coughing, with no masks on to stop cough droplets from hitting me and others.
15            8.     Trustees serve our food from large containers onto individual trays. It wasn’t
16     until recently that they started wearing masks. I see these trustees and other inmates
17     cough on or around the food containers all the time.
18            9.     My bed sheets, uniforms, and other clothes have never been washed during
19     my time here. When I moved dorms, I was told to pick up my sheets and bring them or I
20     wouldn’t have sheets at the new dorm. My sheets and clothes are definitely exposed to
21     other people in the jail all the time, but I am unable to get clean new ones.
22            10.    There are two showers shared by the entire dorm. I haven’t ever seen
23     anyone clean them. They are really dirty.
24            11.    The dorm is also very cold. Others are constantly coughing, and it seems
25     like a lot of people have flu symptoms. This week I’ve heard other inmates with a really
26     dry, heavy cough, like a kennel cough.
27            12.    It’s impossible to avoid touching spaces that others have touched or coughed
28     or sneezed on. I try not to touch anything in the showers or other shared spaces, but
      DECLARATION OF JEFFREY LIVOTTO
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 1     basically every space in the dorm is shared. I can’t help but touch the railings on the
 2     stairs. I can’t help but touch the phones, which we all share. There is nothing to wipe
 3     the phone down with before or after using. I am worried of getting sick from that. I try
 4     to wipe the phone down with my uniform, but there is no disinfectant.
 5            13.   The jail has never given us information about coronavirus and what we
 6     should do to protect myself. When I had a medical appointment last week or the week
 7     before, I asked about coronavirus and what I should be looking out for. The medical staff
 8     and deputies are always very evasive about coronavirus. They pretend like nothing is
 9     going on. They get really weird about it when anyone asks. They don’t want to talk
10     about it.
11            14.   I was taken to court on March 26 or 27 for a probation hearing. I was
12     transported on the sheriff’s bus along with several other inmates, maybe dozens. None of
13     us had masks, and the person I was cuffed and chained to was coughing a lot. He was
14     sitting next to me on the same seat coughing, and we were chained together unable to
15     keep apart. Others were coughing too, and then people were saying that the people
16     coughing had coronavirus.
17            15.   Until early April, deputies did not really seem to be wearing masks. Some of
18     the deputies don’t fully cover their noses and mouths with their masks inside the dorms.
19            16.   My grandmother is 82 years old and sick. She’s alone, and I could be taking
20     care of her. I am worried I won’t see her again.
21            17.   I am scared. I’ve started having terrifying dreams about the coronavirus,
22     like I’m not going to make it out of here. I am afraid I won’t get out of here alive. I am
23     afraid I’m going to die in here for a Vehicle Code violation, something so petty.
24            18.   If I was released, I would stay with my girlfriend. She could pick me up. I
25     could also stay with my mom if needed. If I was released and staying with either of
26     them, I would be able to quarantine and get medical care.
27            19.   In March, I was processed through the Inmate Reception Center after being
28     transported on a bus with other arrestees from court. I was unloaded from the bus and
      DECLARATION OF JEFFREY LIVOTTO
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 1     placed in a cell with about 25 other people. We did not and could not stand six feet apart
 2     given the size of the room and the number of people. We stood shoulder to shoulder. We
 3     then lined up and went through a scanner. From there, we were told to sit on a bench and
 4     go up to a window when our name was called to answer questions asked by the person at
 5     the window. I was seated very close to other arrestees, and no effort was made to keep us
 6     all six feet apart. We were then provided wristbands, and told to go to a cell where we
 7     had to put all of our property in a bag and told we had to shower in a single room with no
 8     walls or dividers between each person. We were then told to go to medical to be
 9     evaluated. At medical, my temperature, heart rate, and blood pressure were taken. I also
10     had a chest x-ray, which I believe was to check for tuberculosis. They then asked me if I
11     had any mental health conditions. Once this was completed, they took me to temporary
12     housing where I was told to wait for a doctor who would conduct a more thorough
13     medical examination. When I requested to see a doctor after more than 6 hours of
14     waiting, I was brutally thrown to the ground by five guards. My arms and legs were
15     twisted such that I was in a great deal of pain. The guards then proceeded to punch me in
16     the face, and I ended up bleeding. I was told that there was a video camera in the room
17     where this occurred. I can’t believe I was assaulted in this violent way, all because I
18     asked to see a doctor.
19           20.    I am afraid to file a grievance because I am concerned that the guards will
20     retaliate against me by moving me out of my dorm. My dorm allows me to accumulate
21     credits that make me eligible for early release. If I am moved from my dorm, I am
22     concerned that I might lose this privilege. There was an inmate who filed a grievance
23     seeking a mask, hand sanitizer, and other means to protect himself against COVID-19,
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      DECLARATION OF JEFFREY LIVOTTO
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     Case 2:20-cv-03760-RGK-PLA Document 13-5 Filed 04/24/20 Page 73 of 87 Page ID
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 1     and he was moved to a different dorm. I am afraid that will happen to me, and I don’t
 2     want to risk my chances of early release. I want to see my family and my loved ones
 3     again as soon as I’m able.
 4
 5           I declare under penalty of perjury under the laws of the State of California and the
 6     United States of America that the foregoing is true and correct. Executed this 22nd day of
 7     April 2020, in Los Angeles, California.
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10                                           Jeffrey Livotto
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      DECLARATION OF JEFFREY LIVOTTO
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Case 2:20-cv-03760-RGK-PLA Document 13-5 Filed 04/24/20 Page 74 of 87 Page ID
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                                                                  Ex. 13
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                                  #:684


    1                           DECLARATION OF RANY UONG
    2 I, Rany Uong, make this declaration of my own free will. I have personal knowledge
    3 of the facts set forth herein and if called as a witness, could and would testify
    4 competently thereto:
    5         1. I am currently incarcerated in the Century Regional Detention Facility in
    6 Lynwood, CA. I have been here since I pled guilty to a nonviolent crime in January
    7 2020, and my release date is August 3, 2020.
    8         2. I am an inmate trustee assigned to work at the laundry and distribute laundry
    9 to inmates.
   10         3. I am currently housed in module 2700. There has been no increase in the
   11 frequency of the laundry due to the pandemic. We have the same pick up schedule
   12 as before the pandemic. In fact, it has been a little slower, because some inmates
   13 have already been released. There is one laundry facility on the first floor that serves
   14 both floors of both towers.
   15         4. Recently, I was transferred to working in the kitchen because I was told all
   16 of the workers in the kitchen were placed in quarantine. I believe all of the kitchen
   17 workers were quarantined because someone was diagnosed with COVID-19. When
   18 we began working in the kitchen, nothing had been cleaned or disinfected after the
   19 other workers went into quarantine. We were made to clean the kitchen ourselves
   20 before we began working there.
   21         5. Several weeks ago, someone was taken out of my dorm when she reported
   22 feeling sick to the deputies. They did not let us go to work as inmate trustees for
   23 one week after they removed her from the dorm. As inmate trustees, we wear green
   24 uniforms and we move between all the modules. That week, we stayed in our
   25 module. Later, the deputies told all of us that she had tested negative.
   26         6. Currently, there are two modules in the east tower that are under quarantine.
   27 I believe they are 3300 and 3400. We are not allowed to take the laundry to the
   28 inmates in those modules. We just leave the cart inside the door and then they
        {H0615990.1}                            -1-
                                    DECLARATION OF RANY UONG
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    1 distribute the laundry themselves.
    2         7. In our unit, there is no antibacterial soap in the dispenser. In fact, there is not
    3 a dispenser like in the other units. We just have a shared bar of soap by the sink. It
    4 does not seem very sanitary to all use the same soap bar.
    5         8. There is just one bottle of spray for everyone in 2700. I am not sure if it is
    6 Citracide or Turbokill. There do not seem to be any consistent rules about cleaning.
    7 The phone is not wiped down between users. I have seen other people in my dorm
    8 put a sock over the phone in order to use it.
    9         9. There is only lukewarm water in the shower and sometimes it is cold. It is
   10 random when the shower will be cold. We do have access to the showers every day,
   11 but there is not any official cleaning schedule of the showers. Inmates just have to
   12 clean the showers themselves.
   13         10. There are 20-30 people in the dayroom outside of my cell. The cells open
   14 onto the dayroom with just a glass door. Although I am housed in the cell, there are
   15 twenty people just outside the door to my cell, and I have to walk very closely past
   16 those people whenever I need to go anywhere. It is not possible to stay 6 feet away
   17 from the people outside my door. Their beds are spaced very closely together,
   18 approximately 1.5 feet apart.
   19         11. There are two bunk beds in my cell. It is impossible to socially distance
   20 myself from my roommates.
   21         12. There is no hand sanitizer or paper towels and we just dry our hands on our
   22 clothes. We get one towel per week that we keep in our cells. The inmate trustees
   23 doing the laundry are issued thin, blue, rubber gloves to handle the laundry.
   24         13. If I were released from here, I would stay at my uncle’s place. I could have
   25 my own room and quarantine there. I have stayed there before.
   26         14. I miss my family very much. Right now, we are not allowed any family
   27 visits. The thing that would lift my spirits the most is at least having video visits
   28 with my family. It is really hard being away from them during this emergency.
        {H0615990.1}                              -2-
                                      DECLARATION OF RANY UONG
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                                                                  Ex. 14
     Case 2:20-cv-03760-RGK-PLA Document 13-5 Filed 04/24/20 Page 79 of 87 Page ID
                                       #:688


 1                         DECLARATION OF BENITO VENEGAS
 2     I, Benito Venegas, hereby declare and say:
 3             1.   I make this declaration of my own free will. I have personal knowledge of
 4     the facts set forth herein and if called as a witness, could and would testify competently
 5     thereto:
 6             2.   I am currently incarcerated in Men’s Central Jail (“MCJ”) in Los Angeles,
 7     California. I have been incarcerated at MCJ for the last two years, awaiting trial on felony
 8     charges.
 9             3.   I am a 27-year old Hispanic man with asthma and other health conditions
10     that make me vulnerable to COVID-19. When I was 17 years old, I was diagnosed with
11     epilepsy. I have since had seizures on average about twice a month for the last ten years.
12     Last week, I experienced two seizures on the same day. My seizures generally cause me
13     to fall to the ground involuntarily. I have had seizures in the shower, where I fall to the
14     ground involuntarily and scrape myself on the shower floor. The showers are used by
15     over eighty people daily and are not cleaned thoroughly. The shower floor is visibly dirty
16     even after it is cleaned. Since I have been in jail, I have developed irritation on my skin
17     which I believe may be due to contact that I have made with unhygienic surfaces when
18     experiencing seizures.
19             4.   I am housed in the “School Dorm” which is an 87-person dorm. We are
20     almost at full capacity; at last count on April 14, I believe there were only four open
21     bunks. The dorm has restrooms, showers, telephone booths, communal tables, a workout
22     area with pullup bars, vending machines and triple bunk beds. The triple bunk beds are
23     less than 3 feet apart from one another. We all usually eat our meals at our bunks or at the
24     communal tables. The prisoners with whom I share this space touch all of the same
25     common surfaces. Since early March, the guards canceled yard time, and since then we
26     have been in our dorm all day. We all leave for our court appearances, medical visits,
27     attorney visits, and other mandatory transports from time to time and come back to the
28     dorm.

      DECLARATION OF BENITO VENEGAS                 -1-
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 1           5.     It is difficult, if not impossible, to keep six feet of distance with the other
 2     prisoners in my dorm. It is a small dorm, filled with more than eighty people, and very
 3     crowded. We share all of the common spaces in the cell, including the exercise area
 4     consisting of pull-up bars, the showers, the restrooms, and the tables where we sit, each,
 5     watch television, and play cards. We also sleep in very close proximity to each other. For
 6     instance, there is an older man (I estimate about 80 years old) who sleeps in a bunk right
 7     beside my bunk. He is less than six feet away from me. At night, I can hear him coughing
 8     loudly.
 9           6.     We are given our food through a slot in the doorway by trustees, some of
10     whom wear masks but others do not. The ones who wear masks only started to wear them
11     about two weeks ago. The trustees are sometimes conversing with us or with each other
12     when they give us food, and I have personally seen at least one trustee coughing or
13     sneezing when handling the food. We all line up to get food, and in lining up, it is
14     impossible, given the size of the dorm and how many people there are, to stay six feet
15     apart from one another.
16           7.     When I see my dorm mates cough in my presence, I typically cover my
17     mouth or my nose with my jail uniform. This has happened a lot in my dorm. I am afraid
18     of retaliation by deputies if I say I need medication or treatment for potential COVID-19
19     symptoms.
20           8.     Before April 10, 2020, no one in the jail had given me anything to protect
21     myself against COVID-19. I had not received any masks, hand sanitizer, or gloves. Early
22     in the morning on April 10, deputies came into the dorm, turned on all the lights, and
23     gave one mask to each person. No other information was provided about the masks.
24           9.     We do not have soap dispensers or hand sanitizer inside the dorm. We have
25     limited access to gloves; I don’t get any gloves unless it’s an emergency and I ask the
26     guards for them. But the guards have not given all of us gloves.
27           10.    Before we were given the masks, the only people who had masks were the
28     deputies and some (but not all) trustees. It concerns me that people outside our dorm

      DECLARATION OF BENITO VENEGAS                 -2-
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 1     come in and out of the dorm multiple times a day to conduct checks and to drop off our
 2     meals, and they are not always wearing masks.
 3           11.   Each person is provided a free soap once when they enter, but I have used
 4     mine up already. I typically buy one through the commissary about once a week.
 5           12.   About once a week, trustees from a different dorm typically come and
 6     “clean” my cell. They are not always wearing masks.
 7           13.   I have a family outside, and if released, I will have support to help me get
 8     the medical care I need.
 9
10           I declare under penalty of perjury under the laws of the State of California and the
11     United States of America that the foregoing is true and correct. Executed this 14th day of
12     April 2020, in Los Angeles, California.
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      DECLARATION OF BENITO VENEGAS               -3-
Case 2:20-cv-03760-RGK-PLA Document 13-5 Filed 04/24/20 Page 82 of 87 Page ID
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                                                                  Ex. 15
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                                       #:692


 1                        DECLARATION OF DENEAL YOUNG
 2     I, DeNeal Young, hereby declare and say:
 3           1.     I make this declaration of my own free will. I have personal knowledge of
 4     the facts set forth herein and if called as a witness, could and would testify competently
 5     thereto.
 6           2.     I am currently incarcerated in Men’s Central Jail (“MCJ”) in Los Angeles,
 7     California. I have been incarcerated at MCJ since November 26, 2019, awaiting a
 8     resentencing hearing. Prior to being transferred to MCJ, I was incarcerated at a state
 9     prison in Solano County.
10           3.     My resentencing hearing date was scheduled for March 19, 2020 and has
11     now been delayed indefinitely due to COVID-19.
12           4.     I am a 49-year old Black man confined in a wheelchair due to blood clots in
13     my legs. I have multiple underlying health conditions. I suffer from severe obesity.
14     Doctors in prison and in MCJ have told me that I have an undiagnosed heart condition. In
15     or around February of this year, the medical staff at MCJ performed an ultrasound in my
16     legs. This coincided with chest pains that I started having in February. On April 7, I
17     received the results of the ultrasound which revealed roughly 45% obstruction of blood
18     flow in one leg and 35% obstruction of blood flow in the other leg. The doctor informed
19     me that this puts me at risk of heart attack, pulmonary embolism, and stroke. Due to the
20     rapid progression of the obstruction, I have lost my ability to walk and am currently in a
21     wheelchair. I was told that I needed to be “sent out” to the county hospital immediately
22     for an emergency surgery. However, the doctor at MCJ has since told me that they cannot
23     send me out and they don’t know when they will be able to send me out due to COVID-
24     19 restrictions. They state, “Everything has to go through Trump.” With each day that
25     passes, I am afraid that if I contract COVID-19 in the jail, my compromised medical
26     condition would put me at a higher risk of complications from the illness.
27           5.     I am housed in a 3-man cell in the Medical unit of MCJ. There are three
28     bunks and a toilet. There is roughly one foot between each bed. There is very little

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 1     privacy or personal space; we use the bathroom in each other’s presence and touch all of
 2     the same surfaces. It is impossible for me to keep six feet apart from my cell mates. I get
 3     my medications 3x/day when the nurse comes to the door. The nurse is always
 4     accompanied by a deputy. They open the door and I walk to the doorway where they
 5     hand me my medication. They are always less than 6 feet away. It’s a different deputy all
 6     three times a day and a different nurse at least two times a day. I get my food 3x/day
 7     when a deputy and a trustee comes to the door. It is a different trustee each time of day
 8     and a different deputy each time of day. I also encounter deputies when I go to the
 9     shower 3x/week (Sun, Tues, Thurs). I have been to the doctor four times since I have
10     been incarcerated here at MCJ. The deputies bring me to the doctor by walking me down
11     a hallway about 50-feet from my cell. I have to wait in line behind eight people on
12     average. We are all sitting on the bench (and I am next to the bench in my wheelchair). It
13     is not possible to have six feet of distance on the bench. We are usually waiting for about
14     an hour and a half to see the doctor.
15             6.   I want to do everything I can to protect myself against COVID-19 but the
16     guards and nurses have not given me adequate protective gear to protect myself against
17     COVID-19. No one had the jail has provided me with any written information about the
18     virus, and I do not see any signs around my cell or at the jail about how to protect myself
19     against contracting it or spreading it if I have it. The only information I get is from
20     reading the newspaper or watching the news on TV.
21             7.   On or around March 15, 2020, I was exposed to someone who was coughing
22     aggressively. The person was in front of the nurse’s station, where I was waiting to get
23     my blood pressure taken. A few days later, my throat became scratchy and I also
24     developed a cough. On March 20, my temperature was taken by a nurse. I registered a
25     temperature of 99.5, which is higher than my regular body temperature and considered to
26     be a fever for me. Although I showed symptoms of COVID-19, I was not placed in a
27     separate cell, quarantined, or provided any medication. I was also not given a COVID-19
28     test.

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 1           8.       I have not personally heard of anyone in the jail who has been able to get a
 2     COVID-19 test despite showing symptoms, but deputies have said to me that “inmates
 3     upstairs have COVID-19.”
 4           9.       Since I have been in the medical unit, I have seen only one thorough
 5     cleaning of my cell. Two times a week, trustees from a different dorm will come into my
 6     cell and sweep or throw out the trash. I do not observe them using any cleaning products
 7     when they clean the cell. Shared surfaces within my cell include our single phone, door,
 8     sink, toilet, and walls. I clean the surfaces myself. I have to use my own soap, which I put
 9     on a rag to clean the shared surfaces. The jail does not give me any disinfectant supplies
10     to clean these shared surfaces. No one cleans the shared surfaces between uses.
11           10.      Each person is provided a small soap bar upon detention, which dissolves
12     quickly after a few uses. I was handed a bar of soap by a deputy when I was first
13     transferred to MCJ; I have never received a second bar of soap from the jail in my five
14     months residing at MCJ. Instead, I have to buy my own soap. To buy a bar of soap, I
15     have to pay upwards of $1.45 for a bar of Irish Spring, $2.11 for a bar of Dove, or $5.05
16     for a bar of Neutrogena, which comes out of my commissary money for food and other
17     necessities.
18           11.      I shower three times a week. The showers are shared with the entire module.
19     I have never observed anyone cleaning the shared showers. In fact, when I shower, I am
20     told to clean the shower myself, take out my trash, and wipe down the area that I use. I
21     have never been provided any special cleaning supplies to do this. I usually just take my
22     foot and wipe down the shower area before I can shower. I typically see the following in
23     the shower area that I have to drag out with my foot: clothes left over from a previous
24     shower, debris, trash, dirty diapers, hair, spit, and phlegm. I am in a wheelchair so this is
25     difficult for me to do. The showers are shared so the door, the faucet, the rails, the shower
26     walls are all common surfaces.
27           12.      I have observed the deputies try to confiscate my cell mate’s CPAP machine,
28     but he has refused to give it up because he needs it to breathe while sleeping. I have heard

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 1     of other people in the medical ward whose CPAP machines were taken from them
 2     because of COVID-19, but who are not told what else they can do about their breathing
 3     problems.
 4           13.     When I wash my hands, I have to use my shirt to wipe my hands. I am not
 5     provided any paper towels inside my cell to wipe my hands clean after washing them. I
 6     get laundry once every Monday. Most of the time they don’t have my size (5X top, 7X
 7     pants).
 8           14.     On April 9, because news of COVID-19’s rapid spread was causing me to
 9     fear for my life, I submitted a grievance form asking for a mask and hand sanitizer. I also
10     requested a release so that I can get the medical care that I need in a timely manner. I
11     explained in the grievance, “This grievance is for me to receive a mask, gloves and hand
12     sanitizer and to be released from custody to go to the hospital to get medical care
13     attention and social distancing living conditions to stop the spread of COVID-19.”
14           15.     On April 10, at around 2am in the morning, guards came into my cell and
15     handed each of us a face mask. I was not given any directions about how to wear it or
16     when to wear it, or if we will be getting replacement face masks after we finish using the
17     ones they gave us.
18           16.     On April 10, in the daytime, I was visited by a Senior Deputy. I asked him to
19     submit my grievance, and he agreed to do so. He told me that he reviewed my grievance
20     form and that that the deputies would not be giving our hand sanitizer or gloves. He also
21     said that my request to be released was a custody issue and he could not do anything
22     about that.
23           17.     Before April 10, I repeatedly asked nurses, deputies and senior deputies for a
24     face mask and was told no. I heard in response, "You are safe because you are in here." I
25     would sometimes receive the response, “We don’t have no face masks.” Jail staff, nurses,
26     trustees and other people physically enter my cell at least five times a day to pass out
27     food, medication, and to perform welfare checks. Before April 10, the only people who
28     had masks are some (but not all) of the deputies, trustees, and nurses. Not all of the

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 1     deputies wear masks. I have seen deputies cough and sneeze near my cell.
 2           18.    On April 15, I again submitted a grievance form stating my concern on
 3     behalf of all prisoners at MCJ. The grievance states, ““This grievance is for myself and
 4     all inmates in LA County Jails. The jails fail to maintain conditions necessary to prevent
 5     COVID-19 by e.g., ignoring CDC guidance and not providing masks, sanitization
 6     supplies, proper cleaning, soap/paper towels, social distancing, testing, and treatment.”
 7           19.    If released, I will go to my aunt’s house in Paramount, CA. My aunt is
 8     willing and able to come pick me up at MCJ. My aunt is a nurse and works at a hospital
 9     in Marina Del Rey; hence, she is familiar with local hospitals in the Los Angeles area
10     where I might be able to timely secure the medical help I need. If released, I have many
11     more options than I have within the jail to find a medical provider to treat the blood clots
12     in my legs and perform urgent surgery as needed.
13           20.    I am a member of the Youth Justice Coalition.
14
15           I declare under penalty of perjury under the laws of the State of California and the
16     United States of America that the foregoing is true and correct. Executed this 23 rd day of
17     April 2020, in Los Angeles, California.
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                                                      DeNeal Young
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